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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION


 X CORP.,

                     Plaintiff,

             v.                                    Civil Action No. 4:23-cv-01175-O

 MEDIA MATTERS FOR AMERICA,
 et al.,

                     Defendants.



         APPENDIX OF EXHIBITS ACCOMPANYING DEFENDANTS’ REPLY
            IN SUPPORT OF MOTION TO STAY DISCOVERY PENDING
                RULING ON DEFENDANTS’ MOTION TO DISMISS

        Pursuant to LR 7.1(i), Defendants Media Matters for America, Angelo Carusone, and Eric

Hananoki present the following exhibits to accompany their Reply in Support of Motion to Stay

Discovery Pending Ruling on Defendants’ Motion to Dismiss:

                                                                                 Appendix
  Exhibit                                 Description
                                                                                Page Number

    A                             Declaration of Andrew LeGrand                        4–6

    A1                  Plaintiffs’ First Set of Requests for Production              7–19

    A2                  Plaintiffs’ First Set of Requests for Production              20–32
                                to Defendant Angelo Carusone

    A3            Defendants Media Matters for America and Eric Hananoki’s            33–65
                       Responses and Objections to Plaintiff’s First Set
                                of Requests for Production

    A4            Counsel Correspondence re: X/MMFA: Plaintiff Position on            66–81
                                 Motion to Stay Discovery?

    A5                 Plaintiff’s Second Set of Requests for Production              82–94




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Dated: April 15, 2024.                      Respectfully submitted,
                                            /s/ Andrew LeGrand


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Andrew LeGrand (TX 24070132)                Abha Khanna* (WA 42612)
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aahmed@gibsondunn.com                       ** Pro hac vice application forthcoming

    Counsel for Defendants Media Matters for America, Angelo Carusone, and Eric Hananoki




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                                 CERTIFICATE OF SERVICE

       On April 15, 2024, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                      /s/ Andrew LeGrand
                                                      Andrew LeGrand




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                   Exhibit A




                                                                            4
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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

 X CORP.,
                      Plaintiff,

             v.
                                                        Civil Action No. 4:23-cv-01175-O
 MEDIA MATTERS FOR AMERICA,
 et al.,
            Defendants.




                 DECLARATION OF ANDREW LEGRAND
 IN SUPPORT OF DEFENDANTS’ REPLY IN SUPPORT DEFENDANTS’ RENEWED
MOTION TO STAY DISCOVERY PENDING RULING ON DEFENDANTS’ MOTION TO
                             DISMISS




       I, Andrew LeGrand, declare as follows:

       1.         I am over the age of 18, am competent to testify, and have personal knowledge of

the facts and information set forth in this declaration.

       2.         I am a Partner at Gibson, Dunn & Crutcher LLP in Dallas, TX. I am a member of

the Texas bar. I am co-counsel for Media Matters for America, Eric Hananoki, and Angelo

Carusone (“Defendants”) in this matter.

       3.         I submit this declaration in support of Defendants’ Reply in Support of Defendants’

Renewed Motion to Stay Discovery Pending Ruling on Defendants’ Motion to Dismiss.

       4.         Attached as Exhibit A1 is a true and correct copy of Plaintiff’s First Set of Requests

for Production served on Defendants via email on February 5, 2024.



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       5.     Attached as Exhibit A2 is a true and correct copy of Plaintiff’s First Set of

Requests for Production to Defendant Angelo Carusone served on Defendants via email on

March 29, 2024.

       6.     Attached as Exhibit A3 is a true and correct copy of Defendants Media Matters for

America and Eric Hananoki’s Responses and Objections to Plaintiff’s First Set

of Requests for Production served on Plaintiff via email on March 11, 2024.

       7.     Attached as Exhibit A4 is a true and correct copy of email communications from

February 5, 2024 through April 9, 2024 between counsel regarding conferral on various discovery

matters.

       8.     Attached as Exhibit A5 is a true and correct copy of Plaintiff’s Second Set of

Requests for Production to Defendants served on Defendants via email on March 29, 2024.



       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on April 15, 2024.

                                             /s/ Andrew LeGrand
                                             Andrew LeGrand




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                   Exhibit A1




                                                                            7
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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 X CORP.,
                Plaintiff,

        vs.                                            Case No. 4:23-cv-01175-O

 MEDIA MATTERS FOR AMERICA, et
 al.
          Defendants.



              PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION

       Pursuant to Federal Rule of Civil Procedure 34, Plaintiff X. Corp. hereby serves this First

Set of Requests for Production on each of the Defendants, Media Matters for America and Eric

Hananoki, by and through their counsel of record, on February 5, 2024, via email pursuant to an

agreement for electronic service between counsel. Each Defendant is hereby independently

obligated to respond to these requests and produce the documents described below in accordance

with the Instructions and Definitions.

       You are reminded that you must respond in writing within 30 days of this date. Production

is to be made at the offices of Stone Hilton PLLC, 1115 W. Slaughter Ln., Austin, TX 78715, or

via such means as counsel for the parties may agree.




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                                               Respectfully submitted.


                                               /s/ Christopher D. Hilton
                                               Judd E. Stone II
                                               Texas Bar No. 24076720
                                               Christopher D. Hilton
                                               Texas Bar No. 24087727
                                               Ari Cuenin
                                               Texas Bar No. 24078385
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                                               Facsimile: (469) 613-0891
                                               john.sullivan@the-sl-lawfirm.com


                                               Counsel for Plaintiff




                               CERTIFICATE OF SERVICE

       I hereby certify that this document was served on counsel for Defendants via email on

February 5, 2024, pursuant to counsel’s agreement to accept service via electronic means.

                                               /s/ Christopher D. Hilton
                                               Christopher D. Hilton




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                                          DEFINITIONS

          In reading and interpreting these requests for production and the accompanying

instructions, the following definitions shall apply:

          1.    “X” or “Plaintiff” shall mean the Plaintiff in this Matter, X Corp., as well as its

predecessor in interest, Twitter, Inc.

          2.    “Defendant,” “You,” and “Your” shall mean the Defendants in this Matter, Media

Matters for America (also referred to as “Media Matters”) and Eric Hananoki (also referred to as

“Hananoki”), either conjunctively or disjunctively as needed to bring within the scope of these

requests any materials that might otherwise be excluded from their scope. “Defendant,” “You,”

and “Your” also refers to, as applicable, each Defendant’s board of directors (“Board”), employees,

agents, attorneys, representatives, and all other persons acting or purporting to act on behalf of any

Defendant, as well as all persons who have acted or purport to have acted on any Defendant’s

behalf.

          3.    “Matter” shall refer to this above-captioned litigation, X Corp. v. Media Matters for

America et al., No. 4:23-cv-01175-O.

          4.    “Material,” “document,” “information,” “data,” and any other similar words

describing categories of things that may be subject to production in response to these requests,

shall be given the broadest possible interpretation provided by law, including but not limited to

writings, drawings, graphs, charts, photographs, sound recordings, images, and other data or data

compilations, stored in any medium from which information can be obtained either directly or, if

necessary, after translation by the responding party into a reasonably usable form. Each of these

words shall also include without limitation handwritten notes, data in specialized databases or

document repositories, and data or information received from journalistic sources. Each of these



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words shall also include without limitation any “communications” (regardless of whether

“communications” is separately specified), meaning any transmission of any information via any

means whatsoever, including without limitation emails, phone logs, voicemails, text messages,

chat messages (such as Zoom, Slack, Microsoft Teams, or Google Meet), Signal messages,

WhatsApp messages, notes of conversations, or recordings of conversations.

       5.       “Concerning,” “regarding,” “related to,” and any other similar phrases signify any

connection, direct or indirect, between the requested material and the stated topic. Such phrases

describing the subject matter of a request shall be given the broadest possible interpretation in

order to bring within the scope of these requests any materials that might otherwise be excluded

from their scope.

       6.       “Identify,” or a request for an “identity,” when used with respect to an individual

or an entity, means to provide the name of the individual or entity, the current street address for

the individual or the main office of such entity (or, if such information is unavailable, any available

information or data regarding the individual or entity’s location), the telephone number and email

address for the individual or entity, and the name and title of the individual responsible for

operations of any entity.

       7.       The “Platform” shall refer to the social media website x.com and twitter.com, and

the X app and Twitter app, and shall include but not be limited to the website’s or app’s features,

functions, users, and content.

       8.       The “November 16, 2023 Article” shall refer to the article written by Eric Hananoki

and originally published on November 16, 2023, at or around 10:05 AM EST, titled “As Musk

endorses antisemitic conspiracy theory, X has been placing ads for Apple, Bravo, IBM, Oracle,

and   Xfinity    next   to   pro-Nazi    content,”    available   as    of   February   4,   2024    at



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https://www.mediamatters.org/twitter/musk-endorses-antisemitic-conspiracy-theory-x-has-been-

placing-ads-apple-bravo-ibm-oracle, including all drafts, outlines, or notes thereof and any

subsequent edits, updates, and/or amendments thereto .

       9.     The “Website” shall refer to the Media Matters for America website and all of its

pages, available at https://www.mediamatters.org/.




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                                        INSTRUCTIONS

       Pursuant to Federal Rule of Civil Procedure 34, You are hereby instructed to respond to

these requests for production as follows:

       1.      Respond to each request for production separately by listing the materials and by

describing them as defined above. If the material is numbered or labeled for production, in each

response provide both the information that identifies the material and the material’s number or

label. You must produce all of the materials in your possession, custody, or control as well as any

materials in the possession, custody, or control of Your departments, officers, directors,

employees, agents, servants, attorneys, or representatives of any kind whatsoever, or any other

person or entity from whom you have the right to obtain documents and information.

       2.      To the extent that You object to a request for production, You must state the

objection with particularity, providing specific grounds for the objection, and You must state

whether any responsive materials are being withheld on the basis of that objection. An objection

to part of a request must specify the part that is objectionable, and You must respond in full to the

part that is unobjectionable.

       3.      Produce documents and tangible things in the forms as they are kept in the ordinary

course of business, except that documents may be numbered or labeled during the production

process. Every effort should be made to maintain document unitization from whatever source the

documents are collected.

       4.      Electronically stored information (ESI) should be produced in accordance with

generally accepted ESI standards, and all the information and metadata necessary for loading Your

production into Relativity or a similar document management database. No metadata should be

altered or destroyed during Your collection or production of documents. Counsel for the parties



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have previously agreed to come to terms on a mutually acceptable set of ESI protocols that the

parties will memorialize in a proposed court order, and Your production shall be governed by that

order.

           5.   For any materials that You assert are privileged, protected, or otherwise except

from discovery for any reason, You are instructed to provide an appropriate privilege log. Counsel

for the parties previously agreed to come to terms on a mutually acceptable protocol for the

handling of privileged material that the parties will memorialize in a proposed court order, and

Your production shall be governed by that order. Any nonprivileged information within a

document that can be produced, must be produced, with redactions over the privileged information.

If You claim that any materials are not privilege or otherwise exempt from disclosure but should

nonetheless be kept confidential, You are instructed to alert counsel of that fact prior to the

deadline for a response to these requests so that the parties can evaluate the need for a

confidentiality and protective order in this matter.

           6.   For any materials that You claim no longer exist, have been destroyed, or cannot

be located, provide the following: (a) a statement identifying the material; (b) a statement of how

and when the material ceased to exist or when it could no longer be located; (c) the reasons for the

material’s nonexistence or loss; (d) the identity, address, and job title of each person having

knowledge about the nonexistence or loss of the material; and (e) a statement identifying any other

materials evidencing the nonexistence or loss of the material or any facts about the nonexistence

or loss.

           7.   These requests for production must be construed as broadly as possible, giving

words their most expansive and inclusive interpretation, such that the requests should be construed




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with a meaning that brings materials within the request’s scope rather than with a meaning that

excludes materials from the request’s scope.

       8.      The singular form of a word shall be interpreted as plural, and the plural form of a

word shall be interpreted as singular, wherever needed in order to bring within the scope of these

requests any materials that might otherwise be excluded from their scope.

       9.      The words “and” and “or” shall each be construed either conjunctively or

disjunctively as needed to bring within the scope of these requests any materials that might

otherwise be excluded from their scope.

       10.     Unless otherwise stated, the responsive “time period” for these requests is April 14,

2021, to the present. These requests are continuing in nature, and You have an obligation to amend,

supplement, or correct Your responses and Your productions in accordance with Federal Rule of

Civil Procedure 26(e).




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                               REQUESTS FOR PRODUCTION

       1.      All versions of the November 16, 2023 Article, including but not limited to all

drafts, outlines, or notes thereof and any subsequent edits, updates, and/or amendments thereto,

and including all prior versions previously available on the Website.

       2.      All source materials, research, screenshots, Platform account data, and other

documents or communications relied on, referenced, created, or considered by You in conceiving

of, investigating, working on, writing, publishing, and disseminating the November 16, 2023

Article.

       3.      All documents and communications related to the November 16, 2023 Article,

including but not limited to internal communications, communications with the public (including

social media posts), communications with donors, communications with journalists, and

communications with the advertisers mentioned in the November 16, 2023 Article.

       4.      All audio and video recordings of You discussing or referencing in any way the

November 16, 2023 Article, including but not limited to documents reflecting any URLs for any

such recordings of You that are in the possession, custody, or control of third parties.

       5.      All documents and communications discussing or mentioning X, the Platform, Elon

Musk, or Linda Yaccarino, including but not limited to email updates, “Action Updates,” or

“Weekly Updates,” that were sent out via any email, text, phone, social media, or other distribution

list that You maintain.

       6.      All documents and communications concerning content moderation on the

Platform.




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       7.      All documents and communications concerning advertising on the Platform,

including but not limited to documents and communications concerning any particular advertiser

or potential advertiser on the Platform.

       8.      All communications with X’s advertisers concerning the Platform, including but

not limited to communications regarding their decision to advertise on the Platform.

       9.      All communications with X’s advertisers about advertising with or financially

supporting You.

       10.     All posts, comments, direct messages, and any other account data of any kind

whatsoever posted by You on the Platform, including but not limited to the @mmfa and

@ehananoki accounts and any accounts used in the creation of the November 16, 2023 Article.

       11.     All communications with appointed or elected public officials, candidates for

public office, candidate campaign committees, political party committees, PACs, 501(c)(4)

groups, and any other political actors or political operatives.

       12.     All IRS Form 990s for Media Matters, regardless of time period, since the founding

of Media Matters.

       13.     All annual financial statements for Media Matters, regardless of time period, since

the founding of Media Matters.

       14.     All Your bank statements and all documents sufficient to show Your financial

condition during the time period.

       15.     All materials regarding Your insurers, insurance policies, indemnity rights, or any

other third-party payors who may be liable or willing to satisfy any judgment, liability, or

obligation of any kind whatsoever that You may currently owe, that You may owe in the future,




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or that You have owed during the time period, including but not limited to any monetary judgment

in this matter.

        16.       Documents sufficient to show Your expenses and the identity of the recipients of

such expenditures, including but not limited to expenses on salaries, travel, equipment, real

property, solicitation of donations, and any other expenses whatsoever.

        17.       Documents sufficient to show the identity of all Your donors or any others who

provide financial support of any kind, their residence, the time and place of their donation or

provision of financial support, and the amount of their donations or other financial support.

        18.       Any document or communication reflecting Your attempts to solicit donations or

financial support of any kind, including but not limited to any discussions with any donors or any

others who provided, considered providing, or were asked to provide financial support of any kind.

        19.       Documents sufficient to identify the recipients of any communications or email

updates, “Action Updates,” or “Weekly Updates” sent out via any email list that You maintain, as

well as any information related to those recipients’ locations, including but not limited to any self-

reported location data and their IP addresses.

        20.       Documents sufficient to show Media Matters’ organizational structure, including

Board membership, leadership structure, and that of any affiliated or related entities.

        21.       All documents and communications regarding Your sources of funding for

research, investigation, reporting, publication, or any other work related to X, the Platform, Elon

Musk, or Linda Yaccarino.

        22.       All documents concerning, and communications with, any third-party public

relations, advertising, marketing, communications, or similar firm that You have contracted with,

or that you have contacted in any capacity about the November 16, 2023 Article.



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       23.       All documents and communications related to or reflecting any travel by Eric

Hananoki from October 20, 2023, to December 15, 2023.

       24.       All of Your calendars, journals, schedules, activity logs, visitors’ logs, diaries, or

appointments from October 20, 2023, to December 15, 2023.

       25.       All documents and communications related to or reflecting Your involvement in or

knowledge of X and any related entities, individuals, and platforms.

       26.       All documents and communications related to or reflecting Media Matters’ Board’s

involvement in or knowledge of X and any related entities, individuals, and platforms.

       27.       All documents and communications related to or reflecting Media Matters’ donors’

involvement in or knowledge of X and any related entities, individuals, and platforms.

       28.       All documents and communications related to or reflecting Media Matters’

employees’ involvement in or knowledge of X and any related entities, individuals, and platforms.

       29.       All documents and communications related to or reflecting Media Matters’

advertisers’ and agencies’ involvement in or knowledge of X and any related entities, individuals,

and platforms.




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                    Exhibit A2




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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 X CORP.,
                Plaintiff,

        vs.                                            Case No. 4:23-cv-01175-O

 MEDIA MATTERS FOR AMERICA, et
 al.
          Defendants.



              PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION
                      TO DEFENDANT ANGELO CARUSONE

       Pursuant to Federal Rule of Civil Procedure 34, Plaintiff X. Corp. hereby serves this First

Set of Requests for Production on Defendant Angelo Carusone, by and through his counsel of

record, on March 29, 2024, via email pursuant to an agreement for electronic service between

counsel. Each Defendant is hereby independently obligated to respond to these requests and

produce the documents described below in accordance with the Instructions and Definitions.

       You are reminded that you must respond in writing within 30 days of this date. Production

is to be made at the offices of Stone Hilton PLLC, 1115 W. Slaughter Ln., Austin, TX 78715, or

via such means as counsel for the parties may agree.




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                                               Respectfully submitted.


                                               /s/ Christopher D. Hilton
                                               Judd E. Stone II
                                               Texas Bar No. 24076720
                                               Christopher D. Hilton
                                               Texas Bar No. 24087727
                                               Ari Cuenin
                                               Texas Bar No. 24078385
                                               STONE | HILTON PLLC
                                               1115 W. Slaughter Lane
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                                               chris@stonehilton.com
                                               ari@stonehilton.com


                                               John C. Sullivan
                                               Texas Bar No. 24083920
                                               S|L LAW PLLC
                                               610 Uptown Boulevard, Suite 2000
                                               Cedar Hill, TX 75104
                                               Telephone: (469) 523-1351
                                               Facsimile: (469) 613-0891
                                               john.sullivan@the-sl-lawfirm.com


                                               Counsel for Plaintiff




                               CERTIFICATE OF SERVICE

       I hereby certify that this document was served on counsel for Defendants via email on

March 29, 2024, pursuant to counsel’s agreement to accept service via electronic means.

                                               /s/ Christopher D. Hilton
                                               Christopher D. Hilton




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                                          DEFINITIONS

       In reading and interpreting these requests for production and the accompanying

instructions, the following definitions shall apply:

       1.      “X” or “Plaintiff” shall mean the Plaintiff in this Matter, X Corp., as well as its

predecessor in interest, Twitter, Inc.

       2.      “Defendant,” “You,” and “Your” shall mean the Defendants in this Matter, Media

Matters for America (also referred to as “Media Matters”), Eric Hananoki (also referred to as

“Hananoki”), and Angelo Carusone (also referred to as “Carusone”), either conjunctively or

disjunctively as needed to bring within the scope of these requests any materials that might

otherwise be excluded from their scope. “Defendant,” “You,” and “Your” also refers to, as

applicable, each Defendant’s board of directors (“Board”), employees, agents, attorneys,

representatives, and all other persons acting or purporting to act on behalf of any Defendant, as

well as all persons who have acted or purport to have acted on any Defendant’s behalf.

       3.      “Matter” shall refer to this above-captioned litigation, X Corp. v. Media Matters for

America et al., No. 4:23-cv-01175-O.

       4.      “Material,” “document,” “information,” “data,” and any other similar words

describing categories of things that may be subject to production in response to these requests,

shall be given the broadest possible interpretation provided by law, including but not limited to

writings, drawings, graphs, charts, photographs, sound recordings, images, and other data or data

compilations, stored in any medium from which information can be obtained either directly or, if

necessary, after translation by the responding party into a reasonably usable form. Each of these

words shall also include without limitation handwritten notes, data in specialized databases or

document repositories, and data or information received from journalistic sources. Each of these



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words shall also include without limitation any “communications” (regardless of whether

“communications” is separately specified), meaning any transmission of any information via any

means whatsoever, including without limitation emails, phone logs, voicemails, text messages,

chat messages (such as Zoom, Slack, Microsoft Teams, or Google Meet), Signal messages,

WhatsApp messages, notes of conversations, or recordings of conversations.

       5.       “Concerning,” “regarding,” “related to,” and any other similar phrases signify any

connection, direct or indirect, between the requested material and the stated topic. Such phrases

describing the subject matter of a request shall be given the broadest possible interpretation in

order to bring within the scope of these requests any materials that might otherwise be excluded

from their scope.

       6.       “Identify,” or a request for an “identity,” when used with respect to an individual

or an entity, means to provide the name of the individual or entity, the current street address for

the individual or the main office of such entity (or, if such information is unavailable, any available

information or data regarding the individual or entity’s location), the telephone number and email

address for the individual or entity, and the name and title of the individual responsible for

operations of any entity.

       7.       The “Platform” shall refer to the social media website x.com and twitter.com, and

the X app and Twitter app, and shall include but not be limited to the website’s or app’s features,

functions, users, and content.

       8.       The “November 16, 2023 Article” shall refer to the article written by Eric Hananoki

and originally published on November 16, 2023, at or around 10:05 AM EST, titled “As Musk

endorses antisemitic conspiracy theory, X has been placing ads for Apple, Bravo, IBM, Oracle,

and   Xfinity    next   to   pro-Nazi    content,”    available   as    of   February   4,   2024    at



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https://www.mediamatters.org/twitter/musk-endorses-antisemitic-conspiracy-theory-x-has-been-

placing-ads-apple-bravo-ibm-oracle, including all drafts, outlines, or notes thereof and any

subsequent edits, updates, and/or amendments thereto.

       9.     The “Website” shall refer to the Media Matters for America website and all of its

pages, available at https://www.mediamatters.org/.




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                                        INSTRUCTIONS

       Pursuant to Federal Rule of Civil Procedure 34, You are hereby instructed to respond to

these requests for production as follows:

       1.      Respond to each request for production separately by listing the materials and by

describing them as defined above. If the material is numbered or labeled for production, in each

response provide both the information that identifies the material and the material’s number or

label. You must produce all of the materials in your possession, custody, or control as well as any

materials in the possession, custody, or control of Your departments, officers, directors,

employees, agents, servants, attorneys, or representatives of any kind whatsoever, or any other

person or entity from whom you have the right to obtain documents and information.

       2.      To the extent that You object to a request for production, You must state the

objection with particularity, providing specific grounds for the objection, and You must state

whether any responsive materials are being withheld on the basis of that objection. An objection

to part of a request must specify the part that is objectionable, and You must respond in full to the

part that is unobjectionable.

       3.      Produce documents and tangible things in the forms as they are kept in the ordinary

course of business, except that documents may be numbered or labeled during the production

process. Every effort should be made to maintain document unitization from whatever source the

documents are collected.

       4.      Electronically stored information (ESI) should be produced in accordance with

generally accepted ESI standards, and all the information and metadata necessary for loading Your

production into Relativity or a similar document management database. No metadata should be

altered or destroyed during Your collection or production of documents. Counsel for the parties



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have previously agreed to come to terms on a mutually acceptable set of ESI protocols that the

parties will memorialize in a proposed court order, and Your production shall be governed by that

order.

           5.   For any materials that You assert are privileged, protected, or otherwise except

from discovery for any reason, You are instructed to provide an appropriate privilege log. Counsel

for the parties previously agreed to come to terms on a mutually acceptable protocol for the

handling of privileged material that the parties will memorialize in a proposed court order, and

Your production shall be governed by that order. Any nonprivileged information within a

document that can be produced, must be produced, with redactions over the privileged information.

If You claim that any materials are not privilege or otherwise exempt from disclosure but should

nonetheless be kept confidential, You are instructed to alert counsel of that fact prior to the

deadline for a response to these requests so that the parties can evaluate the need for a

confidentiality and protective order in this matter.

           6.   For any materials that You claim no longer exist, have been destroyed, or cannot

be located, provide the following: (a) a statement identifying the material; (b) a statement of how

and when the material ceased to exist or when it could no longer be located; (c) the reasons for the

material’s nonexistence or loss; (d) the identity, address, and job title of each person having

knowledge about the nonexistence or loss of the material; and (e) a statement identifying any other

materials evidencing the nonexistence or loss of the material or any facts about the nonexistence

or loss.

           7.   These requests for production must be construed as broadly as possible, giving

words their most expansive and inclusive interpretation, such that the requests should be construed




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with a meaning that brings materials within the request’s scope rather than with a meaning that

excludes materials from the request’s scope.

       8.      The singular form of a word shall be interpreted as plural, and the plural form of a

word shall be interpreted as singular, wherever needed in order to bring within the scope of these

requests any materials that might otherwise be excluded from their scope.

       9.      The words “and” and “or” shall each be construed either conjunctively or

disjunctively as needed to bring within the scope of these requests any materials that might

otherwise be excluded from their scope.

       10.     Unless otherwise stated, the responsive “time period” for these requests is April 14,

2021, to the present. These requests are continuing in nature, and You have an obligation to amend,

supplement, or correct Your responses and Your productions in accordance with Federal Rule of

Civil Procedure 26(e).




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                               REQUESTS FOR PRODUCTION

       1.      All versions of the November 16, 2023 Article, including but not limited to all

drafts, outlines, or notes thereof and any subsequent edits, updates, and/or amendments thereto,

and including all prior versions previously available on the Website.

       2.      All source materials, research, screenshots, Platform account data, and other

documents or communications relied on, referenced, created, or considered by You in conceiving

of, investigating, working on, writing, publishing, and disseminating the November 16, 2023

Article.

       3.      All documents and communications related to the November 16, 2023 Article,

including but not limited to internal communications, communications with the public (including

social media posts), communications with donors, communications with journalists, and

communications with the advertisers mentioned in the November 16, 2023 Article.

       4.      All audio and video recordings of You discussing or referencing in any way the

November 16, 2023 Article, including but not limited to documents reflecting any URLs for any

such recordings of You that are in the possession, custody, or control of third parties.

       5.      All documents and communications discussing or mentioning X, the Platform, Elon

Musk, or Linda Yaccarino, including but not limited to email updates, “Action Updates,” or

“Weekly Updates,” that were sent out via any email, text, phone, social media, or other distribution

list that You maintain.

       6.      All documents and communications concerning content moderation on the

Platform.




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       7.      All documents and communications concerning advertising on the Platform,

including but not limited to documents and communications concerning any particular advertiser

or potential advertiser on the Platform.

       8.      All communications with X’s advertisers concerning the Platform, including but

not limited to communications regarding their decision to advertise on the Platform.

       9.      All communications with X’s advertisers about advertising with or financially

supporting You.

       10.     All posts, comments, direct messages, and any other account data of any kind

whatsoever posted by You on the Platform, including but not limited to the @mmfa and

@ehananoki accounts and any accounts used in the creation of the November 16, 2023 Article.

       11.     All communications with appointed or elected public officials, candidates for

public office, candidate campaign committees, political party committees, PACs, 501(c)(4)

groups, and any other political actors or political operatives.

       12.     All IRS Form 990s for Media Matters, regardless of time period, since the founding

of Media Matters.

       13.     All annual financial statements for Media Matters, regardless of time period, since

the founding of Media Matters.

       14.     All Your bank statements and all documents sufficient to show Your financial

condition during the time period.

       15.     All materials regarding Your insurers, insurance policies, indemnity rights, or any

other third-party payors who may be liable or willing to satisfy any judgment, liability, or

obligation of any kind whatsoever that You may currently owe, that You may owe in the future,




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or that You have owed during the time period, including but not limited to any monetary judgment

in this matter.

        16.       Documents sufficient to show Your expenses and the identity of the recipients of

such expenditures, including but not limited to expenses on salaries, travel, equipment, real

property, solicitation of donations, and any other expenses whatsoever.

        17.       Documents sufficient to show the identity of all Your donors or any others who

provide financial support of any kind, their residence, the time and place of their donation or

provision of financial support, and the amount of their donations or other financial support.

        18.       Any document or communication reflecting Your attempts to solicit donations or

financial support of any kind, including but not limited to any discussions with any donors or any

others who provided, considered providing, or were asked to provide financial support of any kind.

        19.       Documents sufficient to identify the recipients of any communications or email

updates, “Action Updates,” or “Weekly Updates” sent out via any email list that You maintain, as

well as any information related to those recipients’ locations, including but not limited to any self-

reported location data and their IP addresses.

        20.       Documents sufficient to show Media Matters’ organizational structure, including

Board membership, leadership structure, and that of any affiliated or related entities.

        21.       All documents and communications regarding Your sources of funding for

research, investigation, reporting, publication, or any other work related to X, the Platform, Elon

Musk, or Linda Yaccarino.

        22.       All documents concerning, and communications with, any third-party public

relations, advertising, marketing, communications, or similar firm that You have contracted with,

or that you have contacted in any capacity about the November 16, 2023 Article.



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       23.       All documents and communications related to or reflecting any travel by Eric

Hananoki from October 20, 2023, to December 15, 2023.

       24.       All of Your calendars, journals, schedules, activity logs, visitors’ logs, diaries, or

appointments from October 20, 2023, to December 15, 2023.

       25.       All documents and communications related to or reflecting Your involvement in or

knowledge of X and any related entities, individuals, and platforms.

       26.       All documents and communications related to or reflecting Media Matters’ Board’s

involvement in or knowledge of X and any related entities, individuals, and platforms.

       27.       All documents and communications related to or reflecting Media Matters’ donors’

involvement in or knowledge of X and any related entities, individuals, and platforms.

       28.       All documents and communications related to or reflecting Media Matters’

employees’ involvement in or knowledge of X and any related entities, individuals, and platforms.

       29.       All documents and communications related to or reflecting Media Matters’

advertisers’ and agencies’ involvement in or knowledge of X and any related entities, individuals,

and platforms.




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                    Exhibit A3




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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION



    X CORP.,

    Plaintiff,

            v.                                                Civil Action No. 4:23-cv-01175-O

    MEDIA MATTERS FOR AMERICA,
    et al.,

            Defendants.




      DEFENDANTS MEDIA MATTERS FOR AMERICA AND ERIC HANANOKI’S
    RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF REQUESTS FOR
                              PRODUCTION

           Defendants Media Matters for America (“Media Matters”) and Mr. Eric Hananoki, 1

through their undersigned counsel, submit these responses and objections to Plaintiff X Corp.’s

First Set of Requests for Production (“Discovery Requests” or “Requests”).

                                      PRELIMINARY STATEMENT

           The responses set forth herein are based on the information and documents reasonably

available to Defendants at this time, but discovery in this matter, including Defendants’

investigation into the issues raised in this lawsuit and documents responsive to Plaintiff’s

Discovery Requests is still ongoing. Defendants reserve their right to alter, supplement, amend,




1
 Plaintiff’s First Set of Requests for Production were served on February 5, 2024, prior to when Plaintiff amended its
complaint to include Angelo Carusone as a defendant. Therefore, these Responses and Objections are not on behalf of
Mr. Carusone. All references to Defendants herein are to Media Matters and Mr. Hananoki only.

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correct, clarify, or otherwise modify these responses and objections, to assert additional objections

or privileges, in any subsequent supplemental response(s), or to move for a Court order if deemed

appropriate.

       By making the accompanying responses and objections to Plaintiff’s Discovery Requests,

Defendants do not waive, and hereby expressly reserve, their right to assert all objections as to the

admissibility of such responses and documents into evidence in this action, or in any other

proceedings.

       Produced materials will adhere to formal ESI protocol, privilege material agreement, and

any protective order agreed to by Counsel for Plaintiff and Defendants and entered by the Court,

and will be produced on a rolling basis. Defendants will not produce documents in response to

Plaintiff’s discovery requests until the Court has entered a mutually agreeable ESI Protocol

and protective order negotiated by the Parties, or until the Court instructs otherwise.

       Moreover, Defendants maintain that this Court has no personal jurisdiction over Media

Matters or Eric Hananoki and that the Northern District of Texas is not the proper venue for this

dispute. See Defendants’ Brief in Support of their Motion to Dismiss, ECF 41 at Sections I

and II; see also Defendants’ Motion to Stay Discovery, ECF 43. at Section I.

                         RESPONSES TO INDIVIDUAL REQUESTS

REQUEST FOR PRODUCTION NO. 1: All versions of the November 16, 2023 Article,

including but not limited to all drafts, outlines, or notes thereof and any subsequent edits, updates,

and/or amendments thereto, and including all prior versions previously available on the Website.

       OBJECTIONS: The Request does not define the term “notes,” and Defendants interpret

the term as used here consistent with its ordinary meaning to ask for written records created in the




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process of reporting, writing, and publishing the November 16, 2023 Article. To the extent Plaintiff

means something else by the term, Defendants object to this Request as vague and ambiguous.

Defendants further object to this Request to the extent it seeks documents or communications that

are protected by the First Amendment privilege or reporter’s privilege, including notes and

communications that divulge protected source material. See, e.g., In re Selcraig, 705 F.2d 789, 792

(5th Cir. 1983) (recognizing “the first amendment shields a reporter from being required to disclose

the identity of persons who have imparted information . . . in confidence”); Nat’l Ass’n for

Advancement of Colored People v. State of Ala. ex rel. Patterson, 357 U.S. 449, 460 (1958)

(recognizing “the close nexus between the freedoms of speech and assembly” protected party from

disclosure of associational documents). Defendants also object to this Request to the extent it seeks

documents or communications that are protected by the attorney-client privilege, work-product

doctrine, and/or any other applicable privilege or shield law, and/or constitute trial preparation

material within the meaning of Rule 26. Defendants also object to this Request to the extent that it

seeks publicly available documents and/or documents that are otherwise available to Plaintiff such

that responsive materials may be obtained from another source that is more convenient, less

burdensome, or less expensive.

       RESPONSE: Subject to, and without waiving these objections, Defendants will produce

on a rolling basis any responsive, nonprivileged documents in their possession, custody, or control

that they are able to locate following a reasonable search. Defendants will not search public sources

for responsive materials. Defendants are in the process of collecting documents for review and are

not presently withholding any responsive documents that they have identified subject to these

objections. Defendants will supplement this response if they identify and withhold any responsive

documents.



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REQUEST FOR PRODUCTION NO. 2: All source materials, research, screenshots, Platform

account data, and other documents or communications relied on, referenced, created, or considered

by You in conceiving of, investigating, working on, writing, publishing, and disseminating the

November 16, 2023 Article.

       OBJECTIONS: The Request does not define the term “Platform account data,” and

Defendants interpret the term as used here to ask for usernames of accounts on the X Platform

relied on, referenced, created, or considered in investigating, working on, writing, publishing, and

disseminating the referenced article. To the extent Plaintiff means something else by the term,

Defendants object to this Request as vague and ambiguous. Defendants further object to this

Request because it seeks sensitive information protected by the First Amendment privilege and

reporter’s privilege, including by asking Defendants to divulge protected source material. See, e.g.,

In re Selcraig, 705 F.2d 789, 792 (5th Cir. 1983) (recognizing “the first amendment shields a

reporter from being required to disclose the identity of persons who have imparted information . .

. in confidence.”); Nat’l Ass’n for Advancement of Colored People v. State of Ala. ex rel. Patterson,

357 U.S. 449, 460 (1958) (recognizing “the close nexus between the freedoms of speech and

assembly” protected party from disclosure of associational documents). Defendants also object to

this Request to the extent it seeks documents or communications that are protected by the attorney-

client privilege, work-product doctrine, and/or any other applicable privilege or shield law, and/or

constitute trial preparation material within the meaning of Rule 26. Defendants further object to

the extent that this Request seeks publicly available documents and/or documents that are

otherwise available to Plaintiff such that responsive materials may be obtained from another source




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that is more convenient, less burdensome, or less expensive, such as information about accounts

on X or sources and links embedded within the November 16, 2023 article.

       RESPONSES: Subject to, and without waiving these objections, Defendants will produce

on a rolling basis any responsive, nonprivileged documents in their possession, custody, or control

that they are able to locate following a reasonable search. Defendants are in the process of

collecting documents for review and are not presently withholding any responsive documents that

they have identified subject to these objections. Defendants will supplement this response if they

identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 3: All documents and communications related to the

November 16, 2023 Article, including but not limited to internal communications, communications

with the public (including social media posts), communications with donors, communications with

journalists, and communications with the advertisers mentioned in the November 16, 2023 Article.

       OBJECTIONS: Defendants object to this Request because it seeks information such as

confidential communications with donors and strategic partners that are squarely protected by the

First Amendment privilege, the production of which would chill Defendants’ exercise of their First

Amendment speech and associational rights. See, e.g., Americans for Prosperity Found. v. Bonta,

141 S. Ct. 2373, 2385–86 (2021); Nat’l Ass’n for Advancement of Colored People, 357 U.S. at

460; see also Whole Woman’s Health v. Smith, 896 F.3d 362, 372 (5th Cir. 2018), as revised (July

17, 2018); Perry v. Schwarzenegger, 591 F.3d 1147, 1160 (9th Cir. 2010). Defendants further

object to this Request to the extent it seeks documents or communications that are protected by the

reporter’s privilege, attorney-client privilege, work-product doctrine, and/or any other applicable

privilege or shield law, and/or constitute trial preparation material within the meaning of Rule 26.



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Defendants further object to this Request to the extent that it seeks publicly available documents

and/or documents that are otherwise available to Plaintiff such that responsive materials may be

obtained from another source that is more convenient, less burdensome, or less expensive.

        RESPONSES: Subject to, and without waiving these objections, Defendants will produce

on a rolling basis any responsive, nonprivileged documents in their possession, custody, or control

that they are able to locate following a reasonable search. Defendants will not search public sources

for responsive materials. Defendants are in the process of collecting documents for review and are

not presently withholding any responsive documents that they have identified subject to these

objections. Defendants will supplement this response if they identify and withhold any responsive

documents.



REQUEST FOR PRODUCTION NO. 4: All audio and video recordings of You discussing or

referencing in any way the November 16, 2023 Article, including but not limited to documents

reflecting any URLs for any such recordings of You that are in the possession, custody, or control

of third parties.

        OBJECTIONS: Defendants object to this Request to the extent it seeks documents or

communications that are protected by the First Amendment privilege, reporter’s privilege,

attorney-client privilege, work-product doctrine, and/or any other applicable privilege or shield

law, and/or constitute trial preparation material within the meaning of Rule 26. Defendants also

object to this Request to the extent that it seeks publicly available documents and/or documents

that are otherwise available to Plaintiff such that responsive materials may be obtained from

another source that is more convenient, less burdensome, or less expensive. Defendants further




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object to this Request because it seeks materials “in the possession, custody, or control of third

parties” and therefore not within Defendants’ possession, custody, or control.

       RESPONSES: Subject to, and without waiving these objections, Defendants will produce

on a rolling basis any responsive, nonprivileged documents in their possession, custody, or control

that they are able to locate following a reasonable search. Defendants will not search public sources

for responsive materials and will not search for or produce materials under third parties’

possession, custody, or control. Defendants are in the process of collecting documents for review

and are not presently withholding any responsive documents that they have identified subject to

these objections. Defendants will supplement this response if they identify and withhold any

responsive documents.



REQUEST FOR PRODUCTION NO. 5: All documents and communications discussing or

mentioning X, the Platform, Elon Musk, or Linda Yaccarino, including but not limited to email

updates, “Action Updates,” or “Weekly Updates,” that were sent out via any email, text, phone,

social media, or other distribution list that You maintain.

       OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, and disproportionate to the needs of this case, including to the

extent it seeks documents not relevant to any claim or defense asserted in this litigation. For

example, this Request impermissibly requires blanket production of “[a]ll documents and

communications” that in any way mention X, the Platform, Elon Musk, or Linda Yaccarino, even

where not reasonably related to the issues in dispute in this case. Defendants further object to this

Request to the extent it seeks documents or communications that are protected by the First

Amendment privilege, reporter’s privilege, attorney-client privilege, work-product doctrine,



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and/or any other applicable privilege or shield law, and/or constitute trial preparation material

within the meaning of Rule 26. Defendants also object to this Request to the extent that it seeks

publicly available documents and/or documents that are otherwise available to Plaintiff such that

responsive materials may be obtained from another source that is more convenient, less

burdensome, or less expensive.

       RESPONSES: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time.



REQUEST FOR PRODUCTION NO. 6: All documents and communications concerning

content moderation on the Platform.

        OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, and disproportionate to the needs of this case, including to the

extent it seeks documents not relevant to any claim or defense asserted in this litigation. For

example, this Request impermissibly requires blanket production of “[a]ll documents and

communications” related to any content moderation policies on the Platform and is not reasonably

limited to materials relevant to the issues in dispute in this case. Defendants further object to this

Request to the extent it seeks documents or communications that are protected by the First

Amendment privilege, reporter’s privilege, attorney-client privilege, work-product doctrine,

and/or any other applicable privilege or shield law, and/or constitute trial preparation material

within the meaning of Rule 26. Defendants also object to this Request to the extent that it seeks

publicly available documents and/or documents that are otherwise available to Plaintiff such that

responsive materials may be obtained from another source that is more convenient, less

burdensome, or less expensive.



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       RESPONSES: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time.



REQUEST FOR PRODUCTION NO. 7: All documents and communications concerning

advertising on the Platform, including but not limited to documents and communications

concerning any particular advertiser or potential advertiser on the Platform.

       OBJECTIONS: Defendants object to this Request as being overly broad, vague, not

reasonably particularized, unduly burdensome, and disproportionate to the needs of this case,

including to the extent it seeks documents not relevant to any claim or defense asserted in this

litigation. For example, the terms “any particular advertiser or potential advertiser on the Platform”

is not reasonably limited to materials relevant to the issues in dispute in this case. Defendants

further object to this Request to the extent it seeks documents or communications that are protected

by the First Amendment privilege, reporter’s privilege, attorney-client privilege, work-product

doctrine, and/or any other applicable privilege or shield law, and/or constitute trial preparation

material within the meaning of Rule 26. Defendants also object to this Request to the extent that it

seeks publicly available documents and/or documents that are otherwise available to Plaintiff such

that responsive materials may be obtained from another source that is more convenient, less

burdensome, or less expensive.

       RESPONSES: Subject to, and without waiving these objections, Defendants will produce

on a rolling basis any responsive, nonprivileged documents in their possession, custody, or control

that they are able to locate following a reasonable search. Defendants will not search public sources

for responsive materials. Defendants are in the process of collecting documents for review and are

not presently withholding any responsive documents that they have identified subject to these



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objections. Defendants will supplement this response if they identify and withhold any responsive

documents.



REQUEST FOR PRODUCTION NO. 8: All communications with X’s advertisers concerning

the Platform, including but not limited to communications regarding their decision to advertise on

the Platform.

       OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, and disproportionate to the needs of this case, including to the

extent it seeks documents not relevant to any claim or defense asserted in this litigation. Defendants

further object to this Request to the extent it seeks documents or communications that are protected

by the First Amendment privilege, reporter’s privilege, attorney-client privilege, work-product

doctrine, and/or any other applicable privilege or shield law, and/or constitute trial preparation

material within the meaning of Rule 26. Defendants also object to this Request to the extent that it

seeks publicly available documents and/or documents that are otherwise available to Plaintiff such

that responsive materials may be obtained from another source that is more convenient, less

burdensome, or less expensive.

       RESPONSES: Subject to, and without waiving these objections, Defendants will produce

on a rolling basis any responsive, nonprivileged documents in their possession, custody, or control

that they are able to locate following a reasonable search. Defendants will not search public sources

for responsive materials. Defendants are in the process of collecting documents for review and are

not presently withholding any responsive documents that they have identified subject to these

objections. Defendants will supplement this response if they identify and withhold any responsive

documents.



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REQUEST FOR PRODUCTION NO. 9: All communications with X’s advertisers about

advertising with or financially supporting You.

       OBJECTIONS: Defendants object to this Request as being overly broad, vague, not

reasonably particularized, unduly burdensome, and disproportionate to the needs of this case,

including to the extent it seeks documents not relevant to any claim or defense asserted in this

litigation. For example, this Request requires blanket production of “[a]ll communications” with

certain advertisers not reasonably limited to materials relevant to the issues in dispute in this case.

Similarly, the phrase “financially supporting” is vague, overly broad, and not reasonably limited

to materials relevant to the issues in dispute in this case. Defendants also object to this Request

because it seeks sensitive information such as communications protected by the First Amendment

privilege, the production of which would chill Defendants’ exercise of their First Amendment

speech and associational rights. See, e.g., Nat’l Ass’n for Advancement of Colored People, 357

U.S. at 460; see also, Whole Woman’s Health, 896 F.3d at 372; Perry, 591 F.3d at 1160. Defendants

further object to this Request to the extent it seeks documents or communications that are protected

by the reporter’s privilege, attorney-client privilege, work-product doctrine, and/or any other

applicable privilege or shield law, and/or constitute trial preparation material within the meaning

of Rule 26. Defendants further object to this request to the extent it seeks materials outside of

Defendants possession, custody, or control.

       RESPONSES: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time.




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REQUEST FOR PRODUCTION NO. 10: All posts, comments, direct messages, and any other

account data of any kind whatsoever posted by You on the Platform, including but not limited to

the @mmfa and @ehananoki accounts and any accounts used in the creation of the November 16,

2023 Article.

       OBJECTIONS: Defendants object to this Request as being overly broad, vague, not

reasonably particularized, unduly burdensome, and disproportionate to the needs of this case,

including to the extent it seeks documents not relevant to any claim or defense asserted in this

litigation. For example, this Request requires a blanket production of “[a]ll posts, comments, direct

messages, and any other account data of any kind whatsoever” of various accounts, even where

the information it seeks is vague, immaterial, or unrelated to the claims or defenses at issue in this

case. Defendants further object to this Request to the extent it seeks documents or communications

that are protected by the First Amendment privilege, reporter’s privilege, attorney-client privilege,

work-product doctrine, and/or any other applicable privilege or shield law, and/or constitute trial

preparation material within the meaning of Rule 26. Defendants also object to this Request to the

extent that it seeks publicly available documents and/or documents that are otherwise available to

Plaintiff such that responsive materials may be obtained from another source that is more

convenient, less burdensome, or less expensive, including X account information within X Corp.’s

possession.

       RESPONSES: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time.




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REQUEST FOR PRODUCTION NO. 11: All communications with appointed or elected public

officials, candidates for public office, candidate campaign committees, political party committees,

PACs, 501(c)(4) groups, and any other political actors or political operatives.

       OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, harassing, and disproportionate to the needs of this case,

including to the extent it seeks documents not relevant to any claim or defense asserted in this

litigation. For example, this Request requires a blanket production of “[a]ll communications” with

a staggering number of potential individuals on unspecified topics immaterial and unrelated to the

claims or defenses at issue in this case. Defendants also object to this Request to the extent it seeks

sensitive communications that are protected by the First Amendment privilege, the production of

which would chill Defendants’ exercise of their First Amendment speech and associational rights.

See, e.g., Nat’l Ass’n for Advancement of Colored People, 357 U.S. at 460; see also, Whole

Woman’s Health, 896 F.3d at 372; Perry, 591 F.3d at 1160. Defendants further object to this

Request to the extent it seeks documents or communications that are protected by the reporter’s

privilege, attorney-client privilege, work-product doctrine, and/or any other applicable privilege

or shield law, and/or constitute trial preparation material within the meaning of Rule 26.

Defendants also object to this Request to the extent that it seeks publicly available documents

and/or documents that are otherwise available to Plaintiff such that responsive materials may be

obtained from another source that is more convenient, less burdensome, or less expensive.

Defendants further object to this request to the extent it seeks information outside of Defendants’

possession, custody, or control.

       RESPONSES: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time.



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REQUEST FOR PRODUCTION NO. 12: All IRS Form 990s for Media Matters, regardless of

time period, since the founding of Media Matters.

       OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, harassing, and disproportionate to the needs of this case,

including to the extent it seeks documents not relevant to any claim or defense asserted in this

litigation. For example, this Request requires a blanket production of “[a]ll IRS Form 990s for

Media Matters” since the organization’s founding twenty years ago, with no indication of why this

information would be material or related to the claims or defenses at issue in this case. Indeed, the

Platform was not founded until 2006, two years after Media Matters was founded. Defendants also

object to this Request to the extent it seeks disclosure of sensitive financial information protected

by the First Amendment privilege, the production of which would chill Defendants’ exercise of

their First Amendment speech and associational rights. See, e.g., Nat’l Ass’n for Advancement of

Colored People, 357 U.S. at 460; see also, Whole Woman’s Health, 896 F.3d at 372; Perry, 591

F.3d at 1160. Defendants further object to this Request to the extent it seeks documents or

communications that are protected by the reporter’s privilege, attorney-client privilege, work-

product doctrine, and/or any other applicable privilege or shield law, and/or constitute trial

preparation material within the meaning of Rule 26. Defendants also object to this Request to the

extent that it seeks publicly available documents and/or documents that are otherwise available to

Plaintiff such that responsive materials may be obtained from another source that is more

convenient, less burdensome, or less expensive.




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       RESPONSES: Subject to, and without waiving these objections, Defendants will produce

on a rolling basis only publicly available version of its Form 990 tax returns. Defendants will not

produce any non-public versions of its tax return.



REQUEST FOR PRODUCTION NO. 13: All annual financial statements for Media Matters,

regardless of time period, since the founding of Media Matters.

       OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, harassing, and disproportionate to the needs of this case,

including to the extent it seeks documents not relevant to any claim or defense asserted in this

litigation. For example, this Request requires a blanket production of “[a]ll annual financial

statements for Media Matters” since the organization’s founding twenty years ago, with no

indication of why this information would be material or related to the claims or defenses at issue

in this case. Indeed, the Platform was not founded until 2006, two years after Media Matters was

founded. Defendants also object to this Request to the extent it seeks disclosure of sensitive

financial information protected by the First Amendment privilege, the production of which would

chill Defendants’ exercise of their First Amendment speech and associational rights. See, e.g., Nat’l

Ass’n for Advancement of Colored People, 357 U.S. at 460; see also, Whole Woman’s Health, 896

F.3d at 372; Perry, 591 F.3d at 1160. Defendants further object to this Request to the extent it seeks

documents or communications that are protected by the reporter’s privilege, attorney-client

privilege, work-product doctrine, and/or any other applicable privilege or shield law, and/or

constitute trial preparation material within the meaning of Rule 26. Defendants also object to this

Request to the extent that it seeks publicly available documents and/or documents that are




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otherwise available to Plaintiff such that responsive materials may be obtained from another source

that is more convenient, less burdensome, or less expensive.

       RESPONSES: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time.



REQUEST FOR PRODUCTION NO. 14: All Your bank statements and all documents

sufficient to show Your financial condition during the time period.

       OBJECTIONS: Defendants object to this Request as being overly broad, vague, not

reasonably particularized, unduly burdensome, harassing, and disproportionate to the needs of this

case, including to the extent it seeks documents not relevant to any claim or defense asserted in

this litigation. For example, this Request requires a blanket production of “[a]ll bank statements

and all documents sufficient to show [Defendants’] financial condition,” with no indication of why

this information—including personal financial information of an individual reporter—would be

material or related to the claims or defenses at issue in this case. Defendants also object to this

Request to the extent it seeks disclosure of sensitive financial information protected by the First

Amendment privilege, the production of which would chill Defendants’ exercise of their First

Amendment speech and associational rights. See, e.g., Nat’l Ass’n for Advancement of Colored

People, 357 U.S. at 460; see also, Whole Woman’s Health, 896 F.3d at 372; Perry, 591 F.3d at

1160. Defendants further object to this Request to the extent it seeks documents or communications

that are protected by the reporter’s privilege, attorney-client privilege, work-product doctrine,

and/or any other applicable privilege or shield law, and/or constitute trial preparation material

within the meaning of Rule 26.




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       RESPONSES: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time.



REQUEST FOR PRODUCTION NO. 15: All materials regarding Your insurers, insurance

policies, indemnity rights, or any other third-party payors who may be liable or willing to satisfy

any judgment, liability, or obligation of any kind whatsoever that You may currently owe, that You

may owe in the future, or that You have owed during the time period, including but not limited to

any monetary judgment in this matter.

       OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, and disproportionate to the needs of this case, including to the

extent it seeks documents not relevant to any claim or defense asserted in this litigation. For

example, this Request requires a blanket production of “[a]ll materials regarding Your insurers,

insurance policies, indemnity rights, or any other third-party payors who may be liable or willing

to satisfy any judgment, liability, or obligation of any kind whatsoever” even where the information

would be immaterial or unrelated to the claims or defenses at issue in this case. Defendants also

object to this Request to the extent it seeks disclosure of sensitive financial information and

associations protected by the First Amendment privilege, the production of which would chill

Defendants’ exercise of their First Amendment speech and associational rights. See, e.g., Nat’l

Ass’n for Advancement of Colored People, 357 U.S. at 460; see also, Whole Woman’s Health, 896

F.3d at 372; Perry, 591 F.3d at 1160. Defendants further object to this Request to the extent it seeks

documents or communications that are protected by the reporter’s privilege, attorney-client

privilege, work-product doctrine, and/or any other applicable privilege or shield law, and/or

constitute trial preparation material within the meaning of Rule 26. Defendants further object to



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this request to the extent that it seeks materials outside of Defendants’ possession, custody, or

control.

       RESPONSES: Subject to, and without waiving these objections, Defendants direct

Plaintiff to Section IV of Defendants’ Initial Disclosures, served to counsel on March 8, 2024 via

email, which, pursuant to Federal Rule of Civil Procedure 26 (a)(1)(A)(iv), lists “any insurance

agreement under which an insurance business may be liable to satisfy all or part of a possible

judgment in th[is] action or to indemnify or reimburse for payments made to satisfy the judgment

[in this litigation].” Defendants will produce any related documents as required by Federal Rule

of Civil Procedure 34. Defendants are in the process of collecting documents for review and are

not presently withholding any responsive documents that they have identified subject to these

objections. Defendants will supplement this response if they identify and withhold any responsive

documents.



REQUEST FOR PRODUCTION NO. 16: Documents sufficient to show Your expenses and the

identity of the recipients of such expenditures, including but not limited to expenses on salaries,

travel, equipment, real property, solicitation of donations, and any other expenses whatsoever.

       OBJECTIONS: Defendants object to this Request as being overly broad, vague, not

reasonably particularized, unduly burdensome, harassing, and disproportionate to the needs of this

case, including to the extent it seeks documents not relevant to any claim or defense asserted in

this litigation. For example, this Request requires producing a high-volume of sensitive financial

information—including a limitless amount of unrestricted “expenses”—that are immaterial or

unrelated to the claims or defenses at issue in this case. Defendants also object to this Request to

the extent it seeks disclosure of sensitive financial information protected by the First Amendment



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privilege, the production of which would chill Defendants’ exercise of their First Amendment

speech and associational rights. See, e.g., Nat’l Ass’n for Advancement of Colored People, 357

U.S. at 460; see also, Whole Woman’s Health, 896 F.3d at 372; Perry, 591 F.3d at 1160. Defendants

further object to this Request to the extent it seeks documents or communications that are protected

by the reporter’s privilege, attorney-client privilege, work-product doctrine, and/or any other

applicable privilege or shield law, and/or constitute trial preparation material within the meaning

of Rule 26.

       RESPONSES: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time.



REQUEST FOR PRODUCTION NO. 17: Documents sufficient to show the identity of all Your

donors or any others who provide financial support of any kind, their residence, the time and place

of their donation or provision of financial support, and the amount of their donations or other

financial support.

       OBJECTIONS: Defendants object to this Request as being overly broad, vague, not

reasonably particularized, unduly burdensome, harassing, and disproportionate to the needs of this

case, including to the extent it seeks documents not relevant to any claim or defense asserted in

this litigation. For example, this Request seeks a high-volume of sensitive financial information

“of any kind” that is immaterial or unrelated to the claims or defenses at issue in this case.

Defendants also object to this Request to the extent it seeks disclosure of sensitive financial and

associational information protected by the First Amendment privilege, the production of which

would chill Defendants’ exercise of their First Amendment speech and associational rights. See,

e.g., Americans for Prosperity Found., 141 S. Ct. at 2385–86; Nat’l Ass’n for Advancement of



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Colored People, 357 U.S. at 460; see also, Whole Woman’s Health, 896 F.3d at 372; Perry, 591

F.3d at 1160. Defendants further object to this Request to the extent it seeks documents or

communications that are protected by the reporter’s privilege, attorney-client privilege, work-

product doctrine, and/or any other applicable privilege or shield law, and/or constitute trial

preparation material within the meaning of Rule 26. Defendants also object to this Request to the

extent that it seeks publicly available documents and/or documents that are otherwise available to

Plaintiff such that responsive materials may be obtained from another source that is more

convenient, less burdensome, or less expensive.

       RESPONSES: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time.



REQUEST FOR PRODUCTION NO. 18: Any document or communication reflecting Your

attempts to solicit donations or financial support of any kind, including but not limited to any

discussions with any donors or any others who provided, considered providing, or were asked to

provide financial support of any kind.

       OBJECTIONS: Defendants object to this Request as being overly broad, vague, not

reasonably particularized, unduly burdensome, harassing, and disproportionate to the needs of this

case, including to the extent it seeks documents not relevant to any claim or defense asserted in

this litigation. For example, this Request seeks a high-volume of sensitive financial information of

“any kind” that is immaterial or unrelated to the claims or defenses at issue in this case. Defendants

also object to this Request to the extent it seeks disclosure of sensitive financial and associational

information protected by the First Amendment privilege, the production of which would chill

Defendants’ exercise of their First Amendment speech and associational rights. See, e.g.,



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Americans for Prosperity Found., 141 S. Ct. 2385–86; Nat’l Ass’n for Advancement of Colored

People, 357 U.S. at 460; see also, Whole Woman’s Health, 896 F.3d at 372; Perry, 591 F.3d at

1160. Defendants further object to this Request to the extent it seeks documents or communications

that are protected by the reporter’s privilege, attorney-client privilege, work-product doctrine,

and/or any other applicable privilege or shield law, and/or constitute trial preparation material

within the meaning of Rule 26. Defendants also object to this Request to the extent that it seeks

publicly available documents and/or documents that are otherwise available to Plaintiff such that

responsive materials may be obtained from another source that is more convenient, less

burdensome, or less expensive. Defendants further object to this request to the extent it seeks

materials outside of Defendants’ possession, custody, or control.

       RESPONSES: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time.



REQUEST FOR PRODUCTION NO. 19: Documents sufficient to identify the recipients of any

communications or email updates, “Action Updates,” or “Weekly Updates” sent out via any email

list that You maintain, as well as any information related to those recipients’ locations, including

but not limited to any self-reported location data and their IP addresses.

       OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, and disproportionate to the needs of this case, including to the

extent it seeks documents not relevant to any claim or defense asserted in this litigation. Defendants

also object to this Request to the extent it seeks disclosure of associational information protected

by the First Amendment privilege, the production of which would chill Defendants’ exercise of

their First Amendment speech and associational rights. See, e.g., Americans for Prosperity Found.,



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141 S. Ct. at 2385–86; Nat’l Ass’n for Advancement of Colored People, 357 U.S. at 460; see also,

Whole Woman’s Health, 896 F.3d at 372; Perry, 591 F.3d at 1160. Defendants further object to this

Request to the extent it seeks documents or communications that are protected by the reporter’s

privilege, attorney-client privilege, work-product doctrine, and/or any other applicable privilege

or shield law, and/or constitute trial preparation material within the meaning of Rule 26.

        RESPONSES: Subject to, and without waiving these objections, Defendants will produce

on a rolling basis any responsive, nonprivileged documents in their possession, custody, or control

that they are able to locate following a reasonable search. Defendants are in the process of

collecting documents for review and are not presently withholding any responsive documents that

they have identified subject to these objections. Defendants will supplement this response if they

identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 20: Documents sufficient to show Media Matters’

organizational structure, including Board membership, leadership structure, and that of any

affiliated or related entities.

        OBJECTIONS: Defendants object to this Request to the extent it seeks documents or

communications that are protected by the First Amendment privilege, reporter’s privilege,

attorney-client privilege, work-product doctrine, and/or any other applicable privilege or shield

law, and/or constitute trial preparation material within the meaning of Rule 26. Defendants also

object to this Request to the extent that it seeks publicly available documents and/or documents

that are otherwise available to Plaintiff such that responsive materials may be obtained from

another source that is more convenient, less burdensome, or less expensive.




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       RESPONSES: Subject to, and without waiving these objections, Defendants will produce

on a rolling basis any responsive, nonprivileged documents in their possession, custody, or control

that they are able to locate following a reasonable search. Defendants are in the process of

collecting documents for review and are not presently withholding any responsive documents that

they have identified subject to these objections. Defendants will supplement this response if they

identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 21: All documents and communications regarding Your

sources of funding for research, investigation, reporting, publication, or any other work related to

X, the Platform, Elon Musk, or Linda Yaccarino.

       OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, harassing, and disproportionate to the needs of this case,

including to the extent it seeks documents not relevant to any claim or defense asserted in this

litigation. For example, this Request impermissibly requires blanket production of “[a]ll

documents and communications” that in any way mention sources of funding related to X, the

Platform, Elon Musk, or Linda Yaccarino, even where not reasonably related to the issues in

dispute in this case. Defendants also object to this Request to the extent it seeks disclosure of

sensitive financial and associational information protected by the First Amendment privilege, the

production of which would chill Defendants’ exercise of their First Amendment speech and

associational rights. See, e.g., Americans for Prosperity Found., 141 S. Ct. 2385–86; Nat’l Ass’n

for Advancement of Colored People, 357 U.S. at 460; see also, see also, Whole Woman’s Health,

896 F.3d at 372; Perry, 591 F.3d at 1160. Defendants further object to this Request to the extent it

seeks documents or communications that are protected by the reporter’s privilege, attorney-client



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privilege, work-product doctrine, and/or any other applicable privilege or shield law, and/or

constitute trial preparation material within the meaning of Rule 26. Defendants also object to this

Request to the extent that it seeks publicly available documents and/or documents that are

otherwise available to Plaintiff such that responsive materials may be obtained from another source

that is more convenient, less burdensome, or less expensive.

       RESPONSES: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time.



REQUEST FOR PRODUCTION NO. 22: All documents concerning, and communications

with, any third-party public relations, advertising, marketing, communications, or similar firm that

You have contracted with, or that you have contacted in any capacity about the November 16, 2023

Article.

       OBJECTIONS: Defendants object to this Request to the extent it seeks disclosure of

sensitive associational information protected by the First Amendment privilege, the production of

which would chill Defendants’ exercise of their First Amendment speech and associational rights.

See, e.g., Nat’l Ass’n for Advancement of Colored People, 357 U.S. at 460; see also, Whole

Woman’s Health, 896 F.3d at 372; Perry, 591 F.3d at 1160. Defendants further object to this

Request to the extent it seeks documents or communications that are protected by the reporter’s

privilege, attorney-client privilege, work-product doctrine, and/or any other applicable privilege

or shield law, and/or constitute trial preparation material within the meaning of Rule 26.

Defendants also object to the term “similar firm” as vague.

       RESPONSES: Subject to, and without waiving these objections, Defendants will produce

on a rolling basis any responsive, nonprivileged documents in their possession, custody, or control



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that they are able to locate following a reasonable search. Defendants are in the process of

collecting documents for review and are not presently withholding any responsive documents that

they have identified subject to these objections. Defendants will supplement this response if they

identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 23: All documents and communications related to or

reflecting any travel by Eric Hananoki from October 20, 2023, to December 15, 2023.

       OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, and disproportionate to the needs of this case, including to the

extent it seeks documents not relevant to any claim or defense asserted in this litigation. For

example, this Request impermissibly requires blanket production of “[a]ll documents and

communications related to or reflecting any travel” by Mr. Hananoki during the specified time

period, even where not reasonably related to the issues in dispute in this case. Defendants further

object to this Request to the extent it seeks documents or communications that are protected by the

First Amendment privilege, reporter’s privilege, attorney-client privilege, work-product doctrine,

and/or any other applicable privilege or shield law, and/or constitute trial preparation material

within the meaning of Rule 26.

       RESPONSES: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time.



REQUEST FOR PRODUCTION NO. 24: All of Your calendars, journals, schedules, activity

logs, visitors’ logs, diaries, or appointments from October 20, 2023, to December 15, 2023.




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       OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, and disproportionate to the needs of this case, including to the

extent it seeks documents not relevant to any claim or defense asserted in this litigation. For

example, this Request impermissibly requires blanket production of “[a]ll calendars, journals,

schedules, activity logs, visitors’ logs, diaries, or appointments” during the specified time period,

even where not reasonably related to the issues in dispute in this case. Defendants further object

to this Request to the extent it seeks documents or communications that are protected by the First

Amendment privilege, reporter’s privilege, attorney-client privilege, work-product doctrine,

and/or any other applicable privilege or shield law, and/or constitute trial preparation material

within the meaning of Rule 26.

       RESPONSES: Subject to, and without waiving these objections, Defendants will produce

on a rolling basis any responsive, nonprivileged documents in their possession, custody, or control

that they are able to locate following a reasonable search. Defendants are in the process of

collecting documents for review and are not presently withholding any responsive documents that

they have identified subject to these objections. Defendants will supplement this response if they

identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 25: All documents and communications related to or

reflecting Your involvement in or knowledge of X and any related entities, individuals, and

platforms.

       OBJECTIONS: Defendants object to this Request as being overly broad, vague, not

reasonably particularized, unduly burdensome, and disproportionate to the needs of this case,

including to the extent it seeks documents not relevant to any claim or defense asserted in this



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litigation. For example, this Request impermissibly requires blanket production of “[a]ll

documents and communications” related to undefined topics even where not reasonably related to

the issues in dispute in this case. Similarly, “any related entities, individuals, and platforms” is

vague and undefined. Defendants further object to this Request to the extent it seeks documents or

communications that are protected by the First Amendment privilege, reporter’s privilege,

attorney-client privilege, work-product doctrine, and/or any other applicable privilege or shield

law, and/or constitute trial preparation material within the meaning of Rule 26. Defendants also

object to this Request to the extent that it seeks publicly available documents and/or documents

that are otherwise available to Plaintiff such that responsive materials may be obtained from

another source that is more convenient, less burdensome, or less expensive. Defendants also object

to this request to the extent it seeks materials outside of Defendants’ possession, custody, or

control. Defendants further object to this Request as duplicative of and/or cumulative of Discovery

Requests Nos. 5 and 8.

       RESPONSES: Subject to, and without waiving these objections, Defendants will produce

on a rolling basis any responsive, nonprivileged documents in its possession, custody, or control

that it is able to locate following a reasonable search. Defendants will not search for or produce

materials outside of Defendants’ possession, custody, or control. Defendants are in the process of

collecting documents for review and are not presently withholding any responsive documents that

they have identified subject to these objections. Defendants will supplement this response if they

identify and withhold any responsive documents.




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REQUEST FOR PRODUCTION NO. 26: All documents and communications related to or

reflecting Media Matters’ Board’s involvement in or knowledge of X and any related entities,

individuals, and platforms.

       OBJECTIONS: Defendants object to this Request as being overly broad, vague, not

reasonably particularized, unduly burdensome, and disproportionate to the needs of this case,

including to the extent it seeks documents not relevant to any claim or defense asserted in this

litigation. For example, this Request impermissibly requires blanket production of “[a]ll

documents and communications” related to undefined topics even where not reasonably related to

the issues in dispute in this case. Similarly, “any related entities, individuals, and platforms” is

vague and undefined. Defendants further object to this Request to the extent it seeks documents or

communications that are protected by the First Amendment privilege, reporter’s privilege,

attorney-client privilege, work-product doctrine, and/or any other applicable privilege or shield

law, and/or constitute trial preparation material within the meaning of Rule 26.

       RESPONSES: Subject to, and without waiving these objections, Defendants will produce

on a rolling basis any responsive, nonprivileged documents in its possession, custody, or control

that it is able to locate following a reasonable search. Defendants are in the process of collecting

documents for review and are not presently withholding any responsive documents that they have

identified subject to these objections. Defendants will supplement this response if they identify

and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 27: All documents and communications related to or

reflecting Media Matters’ donors’ involvement in or knowledge of X and any related entities,

individuals, and platforms.



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       OBJECTIONS: Defendants object to this Request as being overly broad, vague, not

reasonably particularized, unduly burdensome, and disproportionate to the needs of this case,

including to the extent it seeks documents not relevant to any claim or defense asserted in this

litigation. For example, this Request impermissibly requires blanket production of “[a]ll

documents and communications” related to undefined topics even where not reasonably related to

the issues in dispute in this case. Similarly, “any related entities, individuals, and platforms” is

vague and undefined. Defendants also object to this Request to the extent it seeks disclosure of

sensitive financial and associational information protected by the First Amendment privilege, the

production of which would chill Defendants’ exercise of their First Amendment speech and

associational rights. See, e.g., Americans for Prosperity Found., 141 S. Ct. 2385–86; Nat’l Ass’n

for Advancement of Colored People, 357 U.S. at 460; see also, Whole Woman’s Health, 896 F.3d

at 372; Perry, 591 F.3d at 1160. Defendants further object to this Request to the extent it seeks

documents or communications that are protected by the reporter’s privilege, attorney-client

privilege, work-product doctrine, and/or any other applicable privilege or shield law, and/or

constitute trial preparation material within the meaning of Rule 26. Defendants also object to this

request to the extent it seeks materials outside of Defendants’ possession, custody, or control.

       RESPONSES: Subject to, and without waiving these objections, Defendants will produce

on a rolling basis, any responsive, nonprivileged documents in its possession, custody, or control

that it is able to locate following a reasonable search. Defendants will not search for or produce

materials outside of Defendants’ possession, custody, or control. Defendants are in the process of

collecting documents for review and are not presently withholding any responsive documents that

they have identified subject to these objections. Defendants will supplement this response if they

identify and withhold any responsive documents.



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REQUEST FOR PRODUCTION NO. 28: All documents and communications related to or

reflecting Media Matters’ employees’ involvement in or knowledge of X and any related entities,

individuals, and platforms.

       OBJECTIONS: Defendants object to this Request as being overly broad, vague, not

reasonably particularized, unduly burdensome, and disproportionate to the needs of this case,

including to the extent it seeks documents not relevant to any claim or defense asserted in this

litigation. For example, this Request impermissibly requires blanket production of “[a]ll

documents and communications” related to undefined topics even where not reasonably related to

the issues in dispute in this case. Similarly, “any related entities, individuals, and platforms” is

vague and undefined. Defendants further object to this Request to the extent it seeks documents or

communications that are protected by the First Amendment privilege, reporter’s privilege,

attorney-client privilege, work-product doctrine, and/or any other applicable privilege or shield

law, and/or constitute trial preparation material within the meaning of Rule 26. Defendants further

object to this Request as duplicative of and/or cumulative of Discovery Requests Nos. 5, 8, and

25.

       RESPONSES: Subject to, and without waiving these objections, Defendants will produce

on a rolling basis any responsive, nonprivileged documents in its possession, custody, or control

that it is able to locate following a reasonable search. Defendants are in the process of collecting

documents for review and are not presently withholding any responsive documents that they have

identified subject to these objections. Defendants will supplement this response if they identify

and withhold any responsive documents.




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REQUEST FOR PRODUCTION NO. 29: All documents and communications related to or

reflecting Media Matters’ advertisers’ and agencies’ involvement in or knowledge of X and any

related entities, individuals, and platforms.

       OBJECTIONS: Defendants object to this Request as being overly broad, vague, not

reasonably particularized, unduly burdensome, and disproportionate to the needs of this case,

including to the extent it seeks documents not relevant to any claim or defense asserted in this

litigation. For example, this Request impermissibly requires blanket production of “[a]ll

documents and communications” related to undefined topics even where not reasonably related to

the issues in dispute in this case. Similarly, “any related entities, individuals, and platforms” is

vague and undefined. Defendants further object to this Request to the extent it seeks documents or

communications that are protected by the First Amendment privilege, reporter’s privilege,

attorney-client privilege, work-product doctrine, and/or any other applicable privilege or shield

law, and/or constitute trial preparation material within the meaning of Rule 26. Defendants further

object to this Request to the extent that it seeks materials not within Defendants’ possession,

custody, or control.

       RESPONSES: Subject to, and without waiving these objections, Defendants do not

possess any documents that are responsive to this Request because Media Matters does not have

any advertisers or agencies.




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GIBSON, DUNN & CRUTCHER LLP                       ELIAS LAW GROUP LLP
Andrew LeGrand (TX 24070132)                      Abha Khanna* (WA 42612)
2001 Ross Avenue, Suite 2100                      1700 Seventh Avenue, Suite 2100
Dallas, TX 75201                                  Seattle, WA 98101
T: (214) 698-3100                                 T: (206) 656-0177
F: (214) 571-2960                                 F: (206) 656-0180
alegrand@gibsondunn.com                           akhanna@elias.law

Theodore J. Boutrous, Jr.** (CA 132099)           Jacob D. Shelly* (DC 90010127)
333 South Grand Avenue                            Daniela Lorenzo* (NY 5780457)
Los Angeles, CA 90071                             250 Massachusetts Ave, NW Suite 400
T: (213) 229-7000                                 Washington, D.C. 20001
F: (213) 229-7520                                 T: (202) 968-4490
tboutrous@gibsondunn.com                          F: (202) 986-4498
                                                  jshelly@elias.law
Amer S. Ahmed** (NY 4382040)                      dlorenzo@elias.law
200 Park Avenue
New York, New York 10166                          * Admitted pro hac vice
T: (212) 351-4000                                 ** Pro hac vice application forthcoming
F: (212) 351-4035
aahmed@gibsondunn.com



             Counsel for Defendants Media Matters for America and Eric Hananoki

                                 CERTIFICATE OF SERVICE

       On March 11, 2024, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                              /s/ Andrew LeGrand

                                                              Andrew LeGrand




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                    Exhibit A4




                                                                         66
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From:                Ahmed, Amer S.
To:                  Chris Hilton
Cc:                  LeGrand, Andrew; Boutrous Jr., Theodore J.; Abha Khanna; Elena Rodriguez Armenta; Champion, Anne; Omeed
                     Alerasool; Jacob Shelly; Chris Dodge; Daniela Lorenzo; Aria Branch; Judd E. Stone, II; Ari Cuenin; Bonnie
                     Chester; Cody Coll; john.sullivan@the-sl-lawfirm.com; Tom Albright; Vidyarthi, Apratim
Subject:             Re: X/MMFA: Plaintiff Position on Motion to Stay Discovery?
Date:                Tuesday, April 9, 2024 10:10:48 AM


Chris - we are still waiting on dial in information for our 11am call. Please advise.

Amer S. Ahmed (he/him)
Partner

T: +1 212.351.2427 | M: +1 917.921.7295
AAhmed@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
‌200 Park Avenue, New York, NY 10166-0193


        On Apr 8, 2024, at 11:10 AM, Chris Hilton <chris@stonehilton.com> wrote:


        ﻿
            [WARNING: External Email]
        Amer,

        Tomorrow at 11 AM works. Attached is the NTDX default protective order and third
        party agreement. We'll endeavor to provide a proposed ESI order.

        Thanks,
        Chris


        From: Ahmed, Amer S. <AAhmed@gibsondunn.com>
        Sent: Thursday, April 4, 2024 3:03 PM
        To: Chris Hilton <chris@stonehilton.com>
        Cc: LeGrand, Andrew <ALeGrand@gibsondunn.com>; Boutrous Jr., Theodore J.
        <TBoutrous@gibsondunn.com>; Abha Khanna <akhanna@elias.law>; Elena Rodriguez
        Armenta <erodriguezarmenta@elias.law>; Champion, Anne
        <AChampion@gibsondunn.com>; Omeed Alerasool <oalerasool@elias.law>; Jacob
        Shelly <jshelly@elias.law>; Chris Dodge <cdodge@elias.law>; Daniela Lorenzo
        <dlorenzo@elias.law>; Aria Branch <abranch@elias.law>; Judd E. Stone, II
        <judd@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>; Bonnie Chester
        <Bonnie@stonehilton.com>; Cody Coll <cody@stonehilton.com>; john.sullivan@the-sl-
        lawfirm.com <john.sullivan@the-sl-lawfirm.com>; Tom Albright
        <tom@stonehilton.com>
        Subject: RE: X/MMFA: Plaintiff Position on Motion to Stay Discovery?


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    Chris:

    As you might imagine, when opposing counsel commits to one of several alternative
    time slots (as you did on Monday), we soon release the ones not selected to other
    matters. I am also puzzled by the manufacturing of a counterfactual record: You did
    not email me, let alone call, until more than 25 minutes after our scheduled meeting
    time. Certainly not one of the 7 lawyers for X on this email chain responded to or
    acknowledged my early-afternoon check-in email of 1:39pm ET asking for a dial-in. The
    members of the team who planned to attend the meet-and-confer turned to other
    tasks and obligations when the time for our conversation had long since passed.
    Sending an unsolicited Zoom invitation, with no advance notice, for 45 minutes after
    we were scheduled to meet (and then waiting on that unscheduled, unconfirmed call)
    is neither curative nor helpful.    

    In any event, as you say I hope we can move forward productively. We are available on
    Tuesday at 11am ET. We can also make ourselves available on Monday at 10:15am ET
    if that works on your end. To keep things moving, if you have a proposed protective
    order and proposed ESI protocol for discussion, we are happy to look at those
    documents in advance and prepare responsive comments so that we can be efficient.
    Talk with you next week.

    Kind regards,

    Amer

    Amer S. Ahmed
    Partner

    T: +1 212.351.2427 | M: +1 917.921.7295
    AAhmed@gibsondunn.com

    GIBSON DUNN
    Gibson, Dunn & Crutcher LLP
    ‌200 Park Avenue, New York, NY 10166-0193


    From: Chris Hilton <chris@stonehilton.com>
    Sent: Thursday, April 4, 2024 11:08 AM
    To: Ahmed, Amer S. <AAhmed@gibsondunn.com>
    Cc: LeGrand, Andrew <ALeGrand@gibsondunn.com>; Boutrous Jr., Theodore J.
    <TBoutrous@gibsondunn.com>; Abha Khanna <akhanna@elias.law>; Elena Rodriguez
    Armenta <erodriguezarmenta@elias.law>; Champion, Anne
    <AChampion@gibsondunn.com>; Omeed Alerasool <oalerasool@elias.law>; Jacob
    Shelly <jshelly@elias.law>; Chris Dodge <cdodge@elias.law>; Daniela Lorenzo
    <dlorenzo@elias.law>; Aria Branch <abranch@elias.law>; Judd E. Stone, II
    <judd@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>; Bonnie Chester
    <Bonnie@stonehilton.com>; Cody Coll <cody@stonehilton.com>; john.sullivan@the-sl-


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    lawfirm.com; Tom Albright <tom@stonehilton.com>
    Subject: Re: X/MMFA: Plaintiff Position on Motion to Stay Discovery?

    [WARNING: External Email]
    Amer,

    You previously indicated that you were available today after 3:30 ET. Are you
    saying that none of the 11 lawyers who have appeared for defendants in this
    matter are available this afternoon?

    Not that it matters, but I note that you "concluded" that the call was canceled
    without picking up the phone to call me and without responding to my emails or
    the voicemail that I left you. And you received that invitation for 5:45 because
    you told us that Defendants were available until 6:00 ET - though we waited
    until 6:20 ET and nobody from your team joined the call or even responded. As
    you confirmed at 6:47 ET, we concluded that you were tied up on other matters
    and too busy to respond.

    I hope that we can just leave this unfortunate incident behind us and move
    forward on a more productive footing. We'll await your confirmation that nobody
    from your team is available this afternoon as you previously indicated.
    Regardless of whether we can begin our discussion today - and I hope that we
    can - I think it would also be advisable to block off some time next Tuesday. We
    propose 11:00 ET/10:00 CT, if that works for you.

    Thanks,
    Chris



    From: Ahmed, Amer S. <AAhmed@gibsondunn.com>
    Sent: Wednesday, April 3, 2024 5:47 PM
    To: Chris Hilton <chris@stonehilton.com>
    Cc: LeGrand, Andrew <ALeGrand@gibsondunn.com>; Boutrous Jr., Theodore J.
    <TBoutrous@gibsondunn.com>; Abha Khanna <akhanna@elias.law>; Elena Rodriguez
    Armenta <erodriguezarmenta@elias.law>; Champion, Anne
    <AChampion@gibsondunn.com>; Omeed Alerasool <oalerasool@elias.law>; Jacob
    Shelly <jshelly@elias.law>; Chris Dodge <cdodge@elias.law>; Daniela Lorenzo
    <dlorenzo@elias.law>; Aria Branch <abranch@elias.law>; Judd E. Stone, II
    <judd@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>; Bonnie Chester
    <Bonnie@stonehilton.com>; Cody Coll <cody@stonehilton.com>; john.sullivan@the-sl-
    lawfirm.com <john.sullivan@the-sl-lawfirm.com>; Tom Albright
    <tom@stonehilton.com>
    Subject: Re: X/MMFA: Plaintiff Position on Motion to Stay Discovery?

    Chris - After we concluded that the call was not going ahead as scheduled, we also got
    tied up on other matters this evening. So I’m not sure why I received an unsolicited


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    invitation for a 545pm time slot that we never confirmed. And although you say you
    miscalendared this call for 5pm central time, we did not receive any calendar invitation
    for that time either despite my email of this afternoon requesting one.

    As I said, we are next available on Tuesday. In order to move things along in advance of
    our call, we are happy to look at your proposed changes (if any) to the ND Texas model
    protective order and model ESI protocol. We can propose our changes (if any) to the
    same in response. That will begin addressing two of the issues you raised.

    Thanks.

    Kind regards,

    Amer

    Amer S. Ahmed (he/him)
    Partner

    T: +1 212.351.2427 | M: +1 917.921.7295
    AAhmed@gibsondunn.com

    GIBSON DUNN
    Gibson, Dunn & Crutcher LLP
    ‌200 Park Avenue, New York, NY 10166-0193



           On Apr 3, 2024, at 5:26 PM, Chris Hilton <chris@stonehilton.com> wrote:

           ﻿
               [WARNING: External Email]
           Amer,

           We have been tied up all afternoon and we miscalendared this for 5:00
           central time. Sincere apologies for the inconvenience.

           Please let us know your available for a phone call tomorrow.

           Thanks,
           Chris

           Get Outlook for iOS

           From: Ahmed, Amer S. <AAhmed@gibsondunn.com>
           Sent: Wednesday, April 3, 2024 4:21:07 PM
           To: Chris Hilton <chris@stonehilton.com>
           Cc: LeGrand, Andrew <ALeGrand@gibsondunn.com>; Boutrous Jr.,


                                                                                               70
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         Theodore J. <TBoutrous@gibsondunn.com>; Abha Khanna
         <akhanna@elias.law>; Elena Rodriguez Armenta
         <erodriguezarmenta@elias.law>; Champion, Anne
         <AChampion@gibsondunn.com>; Omeed Alerasool
         <oalerasool@elias.law>; Jacob Shelly <jshelly@elias.law>; Chris Dodge
         <cdodge@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; Aria Branch
         <abranch@elias.law>; Judd E. Stone, II <judd@stonehilton.com>; Ari
         Cuenin <ari@stonehilton.com>; Bonnie Chester
         <Bonnie@stonehilton.com>; Cody Coll <cody@stonehilton.com>;
         john.sullivan@the-sl-lawfirm.com <john.sullivan@the-sl-lawfirm.com>;
         Tom Albright <tom@stonehilton.com>
         Subject: RE: X/MMFA: Plaintiff Position on Motion to Stay Discovery?

         Chris,

         We had blocked our schedules for 5pm ET today at your request. I’m not
         sure what happened, but I can only conclude that something emergent
         tied up everyone on your team such that no one could send a note
         canceling the time slot. Going forward, please afford us the respect of
         canceling appointments with some modicum of notice so that we may
         claim the time back on our respective calendars.

         The next we are available is Tuesday 4/12. Please propose some times
         then that work on your end.

         Kind regards,

         Amer

         Amer S. Ahmed
         Partner

         T: +1 212.351.2427 | M: +1 917.921.7295
         AAhmed@gibsondunn.com

         GIBSON DUNN
         Gibson, Dunn & Crutcher LLP
         ‌200 Park Avenue, New York, NY 10166-0193


         From: Ahmed, Amer S. <AAhmed@gibsondunn.com>
         Sent: Wednesday, April 3, 2024 1:39 PM
         To: Chris Hilton <chris@stonehilton.com>
         Cc: LeGrand, Andrew <ALeGrand@gibsondunn.com>; Boutrous Jr.,
         Theodore J. <TBoutrous@gibsondunn.com>; Abha Khanna
         <akhanna@elias.law>; Elena Rodriguez Armenta
         <erodriguezarmenta@elias.law>; Champion, Anne


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         <AChampion@gibsondunn.com>; Omeed Alerasool
         <oalerasool@elias.law>; Jacob Shelly <jshelly@elias.law>; Chris Dodge
         <cdodge@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; Aria Branch
         <abranch@elias.law>; Judd E. Stone, II <judd@stonehilton.com>; Ari
         Cuenin <ari@stonehilton.com>; Bonnie Chester
         <Bonnie@stonehilton.com>; Cody Coll <cody@stonehilton.com>;
         john.sullivan@the-sl-lawfirm.com; Tom Albright <tom@stonehilton.com>
         Subject: Re: X/MMFA: Plaintiff Position on Motion to Stay Discovery?

         I take it you’ll send around a link or dial-in?

         Amer S. Ahmed (he/him/his)
         Partner
         T: +1 212.351.2427 | M: +1 917.921.7295
         AAhmed@gibsondunn.com

         GIBSON DUNN
         Gibson, Dunn & Crutcher LLP
         200 Park Avenue, New York, NY 10166-0193

         From: Chris Hilton <chris@stonehilton.com>
         Sent: Monday, April 1, 2024 1:46:41 PM
         To: Ahmed, Amer S. <AAhmed@gibsondunn.com>
         Cc: LeGrand, Andrew <ALeGrand@gibsondunn.com>; Boutrous Jr.,
         Theodore J. <TBoutrous@gibsondunn.com>; Abha Khanna
         <akhanna@elias.law>; Elena Rodriguez Armenta
         <erodriguezarmenta@elias.law>; Champion, Anne
         <AChampion@gibsondunn.com>; Omeed Alerasool
         <oalerasool@elias.law>; Jacob Shelly <jshelly@elias.law>; Chris Dodge
         <cdodge@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; Aria Branch
         <abranch@elias.law>; Judd E. Stone, II <judd@stonehilton.com>; Ari
         Cuenin <ari@stonehilton.com>; Bonnie Chester
         <Bonnie@stonehilton.com>; Cody Coll <cody@stonehilton.com>;
         john.sullivan@the-sl-lawfirm.com <john.sullivan@the-sl-lawfirm.com>;
         Tom Albright <tom@stonehilton.com>
         Subject: Re: X/MMFA: Plaintiff Position on Motion to Stay Discovery?

         [WARNING: External Email]
         Thanks Amer. Let's chat at 5:00 ET on Wednesday.

         Thanks,
         Chris

         From: Ahmed, Amer S. <AAhmed@gibsondunn.com>
         Sent: Sunday, March 31, 2024 9:13 PM
         To: Chris Hilton <chris@stonehilton.com>
         Cc: LeGrand, Andrew <ALeGrand@gibsondunn.com>; Boutrous Jr.,


                                                                                   72
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         Theodore J. <TBoutrous@gibsondunn.com>; Abha Khanna
         <akhanna@elias.law>; Elena Rodriguez Armenta
         <erodriguezarmenta@elias.law>; Champion, Anne
         <AChampion@gibsondunn.com>; Omeed Alerasool
         <oalerasool@elias.law>; Jacob Shelly <jshelly@elias.law>; Chris Dodge
         <cdodge@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; Aria Branch
         <abranch@elias.law>; Judd E. Stone, II <judd@stonehilton.com>; Ari
         Cuenin <ari@stonehilton.com>; Bonnie Chester
         <Bonnie@stonehilton.com>; Cody Coll <cody@stonehilton.com>;
         john.sullivan@the-sl-lawfirm.com <john.sullivan@the-sl-lawfirm.com>;
         Tom Albright <tom@stonehilton.com>
         Subject: Re: X/MMFA: Plaintiff Position on Motion to Stay Discovery?

         Hi Chris,

         Happy Easter to you and yours, if you were observing. As I said, we would
         be happy to meet and confer regarding Defendants’ R&Os, which were
         served three weeks ago—on March 11, 2024. Had you reached out
         before the afternoon of Good Friday with a request for a meet-and-confer
         on Easter Monday, we might have been able to move schedules to
         accommodate. With such short notice, however, we are not available on
         Monday. Going forward, I do hope we can agree to offer each other
         reasonable advance notice of conference requests.

         We are available on Wednesday 4-6pm ET and on Thursday after 3:30pm
         ET. Please let me know if either of those times work on your end. Thanks
         very much.

         Kind regards,

         Amer

         Amer S. Ahmed (he/him/his)
         Partner
         T: +1 212.351.2427 | M: +1 917.921.7295
         AAhmed@gibsondunn.com

         GIBSON DUNN
         Gibson, Dunn & Crutcher LLP
         200 Park Avenue, New York, NY 10166-0193

         From: Chris Hilton <chris@stonehilton.com>
         Sent: Friday, March 29, 2024 10:48 PM
         To: Ahmed, Amer S. <AAhmed@gibsondunn.com>
         Cc: LeGrand, Andrew <ALeGrand@gibsondunn.com>; Boutrous Jr.,
         Theodore J. <TBoutrous@gibsondunn.com>; Abha Khanna



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         <akhanna@elias.law>; Elena Rodriguez Armenta
         <erodriguezarmenta@elias.law>; Champion, Anne
         <AChampion@gibsondunn.com>; Omeed Alerasool
         <oalerasool@elias.law>; Jacob Shelly <jshelly@elias.law>; Chris Dodge
         <cdodge@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; Aria Branch
         <abranch@elias.law>; Judd E. Stone, II <judd@stonehilton.com>; Ari
         Cuenin <ari@stonehilton.com>; Bonnie Chester
         <Bonnie@stonehilton.com>; Cody Coll <cody@stonehilton.com>;
         john.sullivan@the-sl-lawfirm.com <john.sullivan@the-sl-lawfirm.com>;
         Tom Albright <tom@stonehilton.com>
         Subject: Re: X/MMFA: Plaintiff Position on Motion to Stay Discovery?

         [WARNING: External Email]
         Thanks Amer. We're available anytime Wednesday morning. But if
         someone is available to confer regarding (1) on Monday, we would
         strongly prefer to do that. Please let us know.

         Additionally, please see the attached discovery requests.

         Thanks,
         Chris



         From: Ahmed, Amer S. <AAhmed@gibsondunn.com>
         Sent: Friday, March 29, 2024 3:39 PM
         To: Chris Hilton <chris@stonehilton.com>
         Cc: LeGrand, Andrew <ALeGrand@gibsondunn.com>; Boutrous Jr.,
         Theodore J. <TBoutrous@gibsondunn.com>; Abha Khanna
         <akhanna@elias.law>; Elena Rodriguez Armenta
         <erodriguezarmenta@elias.law>; Champion, Anne
         <AChampion@gibsondunn.com>; Omeed Alerasool
         <oalerasool@elias.law>; Jacob Shelly <jshelly@elias.law>; Chris Dodge
         <cdodge@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; Aria Branch
         <abranch@elias.law>; Judd E. Stone, II <judd@stonehilton.com>; Ari
         Cuenin <ari@stonehilton.com>; john.sullivan@the-sl-lawfirm.com
         <john.sullivan@the-sl-lawfirm.com>
         Subject: RE: X/MMFA: Plaintiff Position on Motion to Stay Discovery?

         Hello Chris,

         Thanks for reaching out in regard to these discovery issues. In light of the
         religious holidays, we are not available this Monday. We are, however,
         available in the second half of the week beginning on Wednesday. Please
         let us know some windows of time that might work for you then.



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         Kind regards,

         Amer

         Amer S. Ahmed
         Partner

         T: +1 212.351.2427 | M: +1 917.921.7295
         AAhmed@gibsondunn.com

         GIBSON DUNN
         Gibson, Dunn & Crutcher LLP
         ‌200 Park Avenue, New York, NY 10166-0193


         From: Chris Hilton <chris@stonehilton.com>
         Sent: Friday, March 29, 2024 1:47 PM
         To: Ahmed, Amer S. <AAhmed@gibsondunn.com>
         Cc: LeGrand, Andrew <ALeGrand@gibsondunn.com>; Boutrous Jr.,
         Theodore J. <TBoutrous@gibsondunn.com>; Abha Khanna
         <akhanna@elias.law>; Elena Rodriguez Armenta
         <erodriguezarmenta@elias.law>; Champion, Anne
         <AChampion@gibsondunn.com>; Omeed Alerasool
         <oalerasool@elias.law>; Jacob Shelly <jshelly@elias.law>; Chris Dodge
         <cdodge@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; Aria Branch
         <abranch@elias.law>; Judd E. Stone, II <judd@stonehilton.com>; Ari
         Cuenin <ari@stonehilton.com>; john.sullivan@the-sl-lawfirm.com
         Subject: Re: X/MMFA: Plaintiff Position on Motion to Stay Discovery?

         [WARNING: External Email]
         Counsel,

         Please let us know your availability on Monday to meet and confer
         regarding: (1) your responses and objections to our First Set of
         Discovery, (2) an ESI order, and (3) a proposed order regarding the
         handling and protection of privileged or trial-preparation material.

         Thanks,
         Chris


         From: Ahmed, Amer S. <AAhmed@gibsondunn.com>
         Sent: Friday, March 8, 2024 11:10 PM
         To: Chris Hilton <chris@stonehilton.com>
         Cc: LeGrand, Andrew <ALeGrand@gibsondunn.com>; Boutrous Jr.,
         Theodore J. <TBoutrous@gibsondunn.com>; Abha Khanna
         <akhanna@elias.law>; Elena Rodriguez Armenta
         <erodriguezarmenta@elias.law>; Champion, Anne


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         <AChampion@gibsondunn.com>; Omeed Alerasool
         <oalerasool@elias.law>; Jacob Shelly <jshelly@elias.law>; Chris Dodge
         <cdodge@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; Aria Branch
         <abranch@elias.law>; Judd E. Stone, II <judd@stonehilton.com>; Ari
         Cuenin <ari@stonehilton.com>; john.sullivan@the-sl-lawfirm.com
         <john.sullivan@the-sl-lawfirm.com>
         Subject: RE: X/MMFA: Plaintiff Position on Motion to Stay Discovery?

         Thanks for the confirmation, Chris.

         Amer S. Ahmed
         Partner

         T: +1 212.351.2427 | M: +1 917.921.7295
         AAhmed@gibsondunn.com

         GIBSON DUNN
         Gibson, Dunn & Crutcher LLP
         ‌200 Park Avenue, New York, NY 10166-0193


         From: Chris Hilton <chris@stonehilton.com>
         Sent: Friday, March 8, 2024 11:40 PM
         To: Ahmed, Amer S. <AAhmed@gibsondunn.com>
         Cc: LeGrand, Andrew <ALeGrand@gibsondunn.com>; Boutrous Jr.,
         Theodore J. <TBoutrous@gibsondunn.com>; Abha Khanna
         <akhanna@elias.law>; Elena Rodriguez Armenta
         <erodriguezarmenta@elias.law>; Champion, Anne
         <AChampion@gibsondunn.com>; Omeed Alerasool
         <oalerasool@elias.law>; Jacob Shelly <jshelly@elias.law>; Chris Dodge
         <cdodge@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; Aria Branch
         <abranch@elias.law>; Judd E. Stone, II <judd@stonehilton.com>; Ari
         Cuenin <ari@stonehilton.com>; john.sullivan@the-sl-lawfirm.com
         Subject: Re: X/MMFA: Plaintiff Position on Motion to Stay Discovery?

         [WARNING: External Email]
         Thanks for checking, Amer. You are correct that our position on
         this issue has not changed, and we are opposed.

         Thanks,
         Chris


         From: Ahmed, Amer S. <AAhmed@gibsondunn.com>
         Sent: Friday, March 8, 2024 8:02 PM
         To: Chris Hilton <chris@stonehilton.com>
         Cc: LeGrand, Andrew <ALeGrand@gibsondunn.com>; Boutrous Jr.,
         Theodore J. <TBoutrous@gibsondunn.com>; Abha Khanna

                                                                                   76
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         <akhanna@elias.law>; Elena Rodriguez Armenta
         <erodriguezarmenta@elias.law>; Champion, Anne
         <AChampion@gibsondunn.com>; Omeed Alerasool
         <oalerasool@elias.law>; Jacob Shelly <jshelly@elias.law>; Chris Dodge
         <cdodge@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; Aria Branch
         <abranch@elias.law>; Judd E. Stone, II <judd@stonehilton.com>; Ari
         Cuenin <ari@stonehilton.com>; john.sullivan@the-sl-lawfirm.com
         <john.sullivan@the-sl-lawfirm.com>
         Subject: RE: X/MMFA: Plaintiff Position on Motion to Stay Discovery?

         Hi Chris:

         Defendants’ Rule 12 motion to dismiss the amended complaint was filed
         today. As Plaintiff’s amended complaint was filed after we moved for a
         stay of discovery, Defendants intend to renew their motion for a stay of
         discovery (apart from initial disclosures) in light of the threshold, case-
         dispositive arguments raised in our reasserted Rule 12 motion. Under
         local rules, we are required to confirm your position on that motion.

         We assume, based on our many conversations concerning this topic, that
         you intend to continue opposing such a motion to stay discovery until a
         ruling on the motion to dismiss. But we would be grateful if you could let
         us know by 1pm CST on Monday, March 11 if your previously reaffirmed
         position has changed in regard to our renewed request for a stay of
         discovery.

         Thanks very much and I hope all is well.

         Kind regards,

         Amer


         Amer S. Ahmed
         Partner

         T: +1 212.351.2427 | M: +1 917.921.7295
         AAhmed@gibsondunn.com

         GIBSON DUNN
         Gibson, Dunn & Crutcher LLP
         ‌200 Park Avenue, New York, NY 10166-0193


         From: Chris Hilton <chris@stonehilton.com>
         Sent: Monday, February 19, 2024 9:00 AM
         To: Ahmed, Amer S. <AAhmed@gibsondunn.com>


                                                                                        77
Case 4:23-cv-01175-O Document 53 Filed 04/15/24                   Page 78 of 94 PageID 515

         Cc: LeGrand, Andrew <ALeGrand@gibsondunn.com>; Boutrous Jr.,
         Theodore J. <TBoutrous@gibsondunn.com>; Abha Khanna
         <akhanna@elias.law>; Elena Rodriguez Armenta
         <erodriguezarmenta@elias.law>; Champion, Anne
         <AChampion@gibsondunn.com>; Omeed Alerasool
         <oalerasool@elias.law>; Jacob Shelly <jshelly@elias.law>; Chris Dodge
         <cdodge@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; Aria Branch
         <abranch@elias.law>; Judd E. Stone, II <judd@stonehilton.com>; Ari
         Cuenin <ari@stonehilton.com>; john.sullivan@the-sl-lawfirm.com
         Subject: Re: X/MMFA: Plaintiff Position on Motion to Stay Discovery?

         [WARNING: External Email]
         Amer,

         Thanks for your patience. Yes, we are opposed to your motion.

         I appreciate the reminder on the initial disclosures. I'll get back to you on
         that today.

         Thanks,
         Chris

         Get Outlook for iOS

         From: Ahmed, Amer S. <AAhmed@gibsondunn.com>
         Sent: Thursday, February 15, 2024 10:02 PM
         To: Chris Hilton <chris@stonehilton.com>
         Cc: LeGrand, Andrew <ALeGrand@gibsondunn.com>; Boutrous Jr.,
         Theodore J. <TBoutrous@gibsondunn.com>; Abha Khanna
         <akhanna@elias.law>; Elena Rodriguez Armenta
         <erodriguezarmenta@elias.law>; Champion, Anne
         <AChampion@gibsondunn.com>; Omeed Alerasool
         <oalerasool@elias.law>; Jacob Shelly <jshelly@elias.law>; Chris Dodge
         <cdodge@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; Aria Branch
         <abranch@elias.law>; Judd E. Stone, II <judd@stonehilton.com>; Ari
         Cuenin <ari@stonehilton.com>; john.sullivan@the-sl-lawfirm.com
         <john.sullivan@the-sl-lawfirm.com>
         Subject: X/MMFA: Plaintiff Position on Motion to Stay Discovery?

         Hi Chris:

         As you know, based on the parties’ Rule 26 conference and our sections
         of the conference report, Defendants intend to move for a stay of
         discovery (apart from initial disclosures, which we have been negotiating
         separately) in light of the threshold, case-dispositive arguments raised in


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         our Rule 12 motion. Under local rules, we are required to confirm your
         position on that motion. We assume, based on our conversations, that
         you intend to oppose such a motion to stay discovery until a ruling on the
         motion to dismiss. But we would be grateful if you could let us know by
         close of business on Friday, February 15 if your previously stated position
         has changed in regard to our requested stay of discovery.

         Separately, I believe we are still waiting on a response from you
         concerning the date to exchange initial disclosures.

         Thanks very much and I hope all is well.

         Kind regards,

         Amer

         Amer S. Ahmed (he/him/his)
         Partner

         T: +1 212.351.2427 | M: +1 917.921.7295
         AAhmed@gibsondunn.com

         GIBSON DUNN
         Gibson, Dunn & Crutcher LLP
         200 Park Avenue, New York, NY 10166-0193



                       On Feb 5, 2024, at 11:27 PM, Chris Hilton
                       <chris@stonehilton.com> wrote:

                   ﻿
                       [WARNING: External Email]
                   Counsel,

                   Please see attached.

                   Thanks,
                   Chris



                         Christopher D. Hilton
                         Stone | Hilton
                         P.O. Box 150112
                         Austin, TX 78715
                         (737) 465-3897
                   <X 1st Set of RFPs 20240205.pdf>

         This message may contain confidential and privileged information for the


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         sole use of the intended recipient. Any review, disclosure, distribution by
         others or forwarding without express permission is strictly prohibited. If it
         has been sent to you in error, please reply to advise the sender of the
         error and then immediately delete this message.

         Please see our website at https://www.gibsondunn.com/ for information
         regarding the firm and/or our privacy policy.

         This message may contain confidential and privileged information for the
         sole use of the intended recipient. Any review, disclosure, distribution by
         others or forwarding without express permission is strictly prohibited. If it
         has been sent to you in error, please reply to advise the sender of the
         error and then immediately delete this message.

         Please see our website at https://www.gibsondunn.com/ for information
         regarding the firm and/or our privacy policy.

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         sole use of the intended recipient. Any review, disclosure, distribution by
         others or forwarding without express permission is strictly prohibited. If it
         has been sent to you in error, please reply to advise the sender of the
         error and then immediately delete this message.

         Please see our website at https://www.gibsondunn.com/ for information
         regarding the firm and/or our privacy policy.

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         others or forwarding without express permission is strictly prohibited. If it
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         Please see our website at https://www.gibsondunn.com/ for information
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         others or forwarding without express permission is strictly prohibited. If it
         has been sent to you in error, please reply to advise the sender of the
         error and then immediately delete this message.

         Please see our website at https://www.gibsondunn.com/ for information
         regarding the firm and/or our privacy policy.




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             sole use of the intended recipient. Any review, disclosure, distribution by
             others or forwarding without express permission is strictly prohibited. If it
             has been sent to you in error, please reply to advise the sender of the
             error and then immediately delete this message.

             Please see our website at https://www.gibsondunn.com/ for information
             regarding the firm and/or our privacy policy.


      This message may contain confidential and privileged information for the sole use of
      the intended recipient. Any review, disclosure, distribution by others or forwarding
      without express permission is strictly prohibited. If it has been sent to you in error,
      please reply to advise the sender of the error and then immediately delete this
      message.

      Please see our website at https://www.gibsondunn.com/ for information regarding the
      firm and/or our privacy policy.


      This message may contain confidential and privileged information for the sole use
      of the intended recipient. Any review, disclosure, distribution by others or
      forwarding without express permission is strictly prohibited. If it has been sent to
      you in error, please reply to advise the sender of the error and then immediately
      delete this message.

      Please see our website at https://www.gibsondunn.com/ for information regarding
      the firm and/or our privacy policy.

      <MiscOrder62ExhibitA.pdf>
      <MO62A-ProtectiveOrder.pdf>



This message may contain confidential and privileged information for the sole use of the
intended recipient. Any review, disclosure, distribution by others or forwarding without
express permission is strictly prohibited. If it has been sent to you in error, please reply to
advise the sender of the error and then immediately delete this message.

Please see our website at https://www.gibsondunn.com/ for information regarding the firm
and/or our privacy policy.




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                    Exhibit A5




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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 X CORP.,
                Plaintiff,

        vs.                                            Case No. 4:23-cv-01175-O

 MEDIA MATTERS FOR AMERICA, et
 al.
          Defendants.



              PLAINTIFF’S SECOND SET OF REQUESTS FOR PRODUCTION

       Pursuant to Federal Rule of Civil Procedure 34, Plaintiff X. Corp. hereby serves this First

Set of Requests for Production on each of the Defendants, Media Matters for America, Eric

Hananoki, and Angelo Carusone, by and through their counsel of record, on March 29, 2024, via

email pursuant to an agreement for electronic service between counsel. Each Defendant is hereby

independently obligated to respond to these requests and produce the documents described below

in accordance with the Instructions and Definitions.

       You are reminded that you must respond in writing within 30 days of this date. Production

is to be made at the offices of Stone Hilton PLLC, 1115 W. Slaughter Ln., Austin, TX 78715, or

via such means as counsel for the parties may agree.




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                                               Respectfully submitted.


                                               /s/ Christopher D. Hilton
                                               Judd E. Stone II
                                               Texas Bar No. 24076720
                                               Christopher D. Hilton
                                               Texas Bar No. 24087727
                                               Ari Cuenin
                                               Texas Bar No. 24078385
                                               STONE | HILTON PLLC
                                               1115 W. Slaughter Lane
                                               Austin, TX 78748
                                               Telephone: (737) 465-3897
                                               judd@stonehilton.com
                                               chris@stonehilton.com
                                               ari@stonehilton.com


                                               John C. Sullivan
                                               Texas Bar No. 24083920
                                               S|L LAW PLLC
                                               610 Uptown Boulevard, Suite 2000
                                               Cedar Hill, TX 75104
                                               Telephone: (469) 523-1351
                                               Facsimile: (469) 613-0891
                                               john.sullivan@the-sl-lawfirm.com


                                               Counsel for Plaintiff




                               CERTIFICATE OF SERVICE

       I hereby certify that this document was served on counsel for Defendants via email on

March 29, 2024, pursuant to counsel’s agreement to accept service via electronic means.

                                               /s/ Christopher D. Hilton
                                               Christopher D. Hilton




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                                          DEFINITIONS

       In reading and interpreting these requests for production and the accompanying

instructions, the following definitions shall apply:

       1.      “X” or “Plaintiff” shall mean the Plaintiff in this Matter, X Corp., as well as its

predecessor in interest, Twitter, Inc.

       2.      “Defendant,” “You,” and “Your” shall mean the Defendants in this Matter, Media

Matters for America (also referred to as “Media Matters”), Eric Hananoki (also referred to as

“Hananoki”), and Angelo Carusone (also referred to as “Carusone”), either conjunctively or

disjunctively as needed to bring within the scope of these requests any materials that might

otherwise be excluded from their scope. “Defendant,” “You,” and “Your” also refers to, as

applicable, each Defendant’s board of directors (“Board”), employees, agents, attorneys,

representatives, and all other persons acting or purporting to act on behalf of any Defendant, as

well as all persons who have acted or purport to have acted on any Defendant’s behalf.

       3.      “Matter” shall refer to this above-captioned litigation, X Corp. v. Media Matters for

America et al., No. 4:23-cv-01175-O.

       4.      “Material,” “document,” “information,” “data,” and any other similar words

describing categories of things that may be subject to production in response to these requests,

shall be given the broadest possible interpretation provided by law, including but not limited to

writings, drawings, graphs, charts, photographs, sound recordings, images, and other data or data

compilations, stored in any medium from which information can be obtained either directly or, if

necessary, after translation by the responding party into a reasonably usable form. Each of these

words shall also include without limitation handwritten notes, data in specialized databases or

document repositories, and data or information received from journalistic sources. Each of these



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words shall also include without limitation any “communications” (regardless of whether

“communications” is separately specified), meaning any transmission of any information via any

means whatsoever, including without limitation emails, phone logs, voicemails, text messages,

chat messages (such as Zoom, Slack, Microsoft Teams, or Google Meet), Signal messages,

WhatsApp messages, notes of conversations, or recordings of conversations.

       5.       “Concerning,” “regarding,” “related to,” and any other similar phrases signify any

connection, direct or indirect, between the requested material and the stated topic. Such phrases

describing the subject matter of a request shall be given the broadest possible interpretation in

order to bring within the scope of these requests any materials that might otherwise be excluded

from their scope.

       6.       “Identify,” or a request for an “identity,” when used with respect to an individual

or an entity, means to provide the name of the individual or entity, the current street address for

the individual or the main office of such entity (or, if such information is unavailable, any available

information or data regarding the individual or entity’s location), the telephone number and email

address for the individual or entity, and the name and title of the individual responsible for

operations of any entity.

       7.       The “Platform” shall refer to the social media website x.com and twitter.com, and

the X app and Twitter app, and shall include but not be limited to the website’s or app’s features,

functions, users, and content.

       8.       The “November 16, 2023 Article” shall refer to the article written by Eric Hananoki

and originally published on November 16, 2023, at or around 10:05 AM EST, titled “As Musk

endorses antisemitic conspiracy theory, X has been placing ads for Apple, Bravo, IBM, Oracle,

and   Xfinity    next   to   pro-Nazi    content,”    available   as    of   February   4,   2024    at



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https://www.mediamatters.org/twitter/musk-endorses-antisemitic-conspiracy-theory-x-has-been-

placing-ads-apple-bravo-ibm-oracle, including all drafts, outlines, or notes thereof and any

subsequent edits, updates, and/or amendments thereto.

       9.     The “November 17, 2023 Article” shall refer to the article written by Eric Hananoki

and originally published on November 17, 2023, at or around 12:16 PM EST, and updated on

November 21, 2023, at or around 2:15 PM EST, titled “X is placing ads for Amazon, NBA Mexico,

NBCUniversal, and others next to content with white nationalist hashtags,” available as of March

27,    2024     at     https://www.mediamatters.org/twitter/x-placing-ads-amazon-nba-mexico-

nbcuniversal-and-others-next-content-white-nationalist, including all drafts, outlines, or notes

thereof and any subsequent edits, updates, and/or amendments thereto.

       10.    The “Website” shall refer to the Media Matters for America website and all of its

pages, available at https://www.mediamatters.org/.




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                                        INSTRUCTIONS

       Pursuant to Federal Rule of Civil Procedure 34, You are hereby instructed to respond to

these requests for production as follows:

       1.      Respond to each request for production separately by listing the materials and by

describing them as defined above. If the material is numbered or labeled for production, in each

response provide both the information that identifies the material and the material’s number or

label. You must produce all of the materials in your possession, custody, or control as well as any

materials in the possession, custody, or control of Your departments, officers, directors,

employees, agents, servants, attorneys, or representatives of any kind whatsoever, or any other

person or entity from whom you have the right to obtain documents and information.

       2.      To the extent that You object to a request for production, You must state the

objection with particularity, providing specific grounds for the objection, and You must state

whether any responsive materials are being withheld on the basis of that objection. An objection

to part of a request must specify the part that is objectionable, and You must respond in full to the

part that is unobjectionable.

       3.      Produce documents and tangible things in the forms as they are kept in the ordinary

course of business, except that documents may be numbered or labeled during the production

process. Every effort should be made to maintain document unitization from whatever source the

documents are collected.

       4.      Electronically stored information (ESI) should be produced in accordance with

generally accepted ESI standards, and all the information and metadata necessary for loading Your

production into Relativity or a similar document management database. No metadata should be

altered or destroyed during Your collection or production of documents. Counsel for the parties



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have previously agreed to come to terms on a mutually acceptable set of ESI protocols that the

parties will memorialize in a proposed court order, and Your production shall be governed by that

order.

           5.   For any materials that You assert are privileged, protected, or otherwise except

from discovery for any reason, You are instructed to provide an appropriate privilege log. Counsel

for the parties previously agreed to come to terms on a mutually acceptable protocol for the

handling of privileged material that the parties will memorialize in a proposed court order, and

Your production shall be governed by that order. Any nonprivileged information within a

document that can be produced, must be produced, with redactions over the privileged information.

If You claim that any materials are not privilege or otherwise exempt from disclosure but should

nonetheless be kept confidential, You are instructed to alert counsel of that fact prior to the

deadline for a response to these requests so that the parties can evaluate the need for a

confidentiality and protective order in this matter.

           6.   For any materials that You claim no longer exist, have been destroyed, or cannot

be located, provide the following: (a) a statement identifying the material; (b) a statement of how

and when the material ceased to exist or when it could no longer be located; (c) the reasons for the

material’s nonexistence or loss; (d) the identity, address, and job title of each person having

knowledge about the nonexistence or loss of the material; and (e) a statement identifying any other

materials evidencing the nonexistence or loss of the material or any facts about the nonexistence

or loss.

           7.   These requests for production must be construed as broadly as possible, giving

words their most expansive and inclusive interpretation, such that the requests should be construed




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with a meaning that brings materials within the request’s scope rather than with a meaning that

excludes materials from the request’s scope.

       8.      The singular form of a word shall be interpreted as plural, and the plural form of a

word shall be interpreted as singular, wherever needed in order to bring within the scope of these

requests any materials that might otherwise be excluded from their scope.

       9.      The words “and” and “or” shall each be construed either conjunctively or

disjunctively as needed to bring within the scope of these requests any materials that might

otherwise be excluded from their scope.

       10.     Unless otherwise stated, the responsive “time period” for these requests is April 14,

2021, to the present. These requests are continuing in nature, and You have an obligation to amend,

supplement, or correct Your responses and Your productions in accordance with Federal Rule of

Civil Procedure 26(e).




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                               REQUESTS FOR PRODUCTION

       1.       All versions of the November 17, 2023 Article, including but not limited to all

drafts, outlines, or notes thereof and any subsequent edits, updates, and/or amendments thereto,

and including all prior versions previously available on the Website.

       2.       All source materials, research, screenshots, Platform account data, and other

documents or communications relied on, referenced, created, or considered by You in conceiving

of, investigating, working on, writing, publishing, and disseminating the November 17, 2023

Article.

       3.       All documents and communications related to the November 17, 2023 Article,

including but not limited to internal communications, communications with the public (including

social media posts), communications with donors, communications with journalists, and

communications with the advertisers mentioned in the November 17, 2023 Article.

       4.       All audio and video recordings of You discussing or referencing in any way the

November 17, 2023 Article, including but not limited to documents reflecting any URLs for any

such recordings of You that are in the possession, custody, or control of third parties.

       5.       All materials regarding or communications with You or any other Media Matters

employee, contractor, or agent mentioning or regarding in any way this Matter, Elon Musk, Linda

Yaccarino, X, Twitter, or the Platform, including misinformation, brand safety, or ad pairing on

the Platform.

       6.       All materials regarding or communications with any donor or potential donor to

Media Matters mentioning or regarding in any way this Matter, Elon Musk, Linda Yaccarino, X,

Twitter, or the Platform, including misinformation, brand safety, or ad pairing on the Platform.




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        7.      All materials, including but not limited to notes, transcripts, or recordings, whether

published, broadcast, or otherwise, or all media or public appearances made by You wherein You

discussed or mentioned this Matter, Elon Musk, Linda Yaccarino, X, Twitter, or the Platform,

including misinformation, brand safety, or ad pairing on the Platform.

        8.      All materials regarding or communications with Eric Hananoki.

        9.      All materials regarding or communications with Matt Gertz.

        10.     All materials reflecting or regarding any policies, practices, procedures, codes of

conduct, ethical standards, or other guidelines for appropriate investigation and reporting for

Media Matters’ articles, including but not limited to policies concerning fact-checking,

defamation, and contacting sources or subjects of articles.

        11.     All materials and communications regarding the X account(s) used in creating the

November 16, 2023 Article or the November 17, 2023 Article, including but not limited to any

emails from the Platform (including automatic or system-generated emails).

        12.     All materials and communications with or regarding any X account or X advertiser

appearing the November 16, 2023 Article or the November 17, 2023 Article.

        13.     All materials regarding or communications with any individual or entity named in

the November 16, 2023 Article, the November 17, 2023 Article, and any subsequent coverage,

including communications with any entity’s board of directors, employees, agents, attorneys,

representatives, and all other persons acting or purporting to act on behalf of any such entity.

        14.     All materials regarding or communications with any sources for the November 16,

2023 Article, the November 17, 2023 Article, and any subsequent coverage.

        15.     Documents sufficient to show the identity of the author of and every contributor to

articles that are attributed to “Media Matters Staff” or that are unattributed referring to this Matter,



                                                  10

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Elon Musk, Linda Yaccarino, X, Twitter, the November 16, 2023 Article, the November 17, 2023

Article, or the Platform, including misinformation, brand safety, ad pairing, anti-Semitism, racism,

Nazis or Nazi ideology and content, white nationalism, white supremacism, or the “alt-right” on

the Platform.

        16.     All materials or communications that reference in any way this Matter, Elon Musk,

Linda Yaccarino, X, Twitter, or the Platform, including misinformation, brand safety, or ad pairing

on the Platform, and use any of the following terms or any variant of any of the following terms:

Hitler, Nazi, racist, racism, alt-right, antisemite, antisemitism, anti-Semite, anti-Semitism, red line,

replacement theory, white supremacy, white nationalism, white pride, Pepe, frog Twitter, the

Holocaust, bigotry, hate, hatred, hateful speech, Charlottesville, tiki torch, January 6, January 6th,

Jan. 6, Jan. 6th, 1/6, J6, minorities, hordes, jew, jewish, Israel, Israeli, IDF, Israeli Defense Force,

Palestine, Palestinian, “from the river to the sea,” October 7, 10/7, jihad, day of jihad, Hamas,

Gaza, Islam, Islamic, Palestinian Islamic Jihad, PIJ, Islamophobia, Zionism, Zionist, Zion, blue

chip, brand, free speech, First Amendment, Texas, Fort Worth, Dallas, Austin.

        17.     All materials reflecting or relating to any reports, accusations, files, notes,

personnel records, complaints, mediations, arbitrations, lawsuits (including potential or threatened

lawsuits that were never filed), or investigations involving allegations that You took adverse

employment actions or otherwise discriminated against or took any action against another person

or persons on the basis of a protected class, including but not limited to race, color, national origin,

religion, sex, sexual orientation, language status, or pregnancy status.

        18.     All materials reflecting or relating to any reports, accusations, files, notes,

personnel records, complaints, mediations, arbitrations, lawsuits (including potential or threatened




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lawsuits that were never filed), or investigations involving allegations against You regarding

business disparagement, defamation, or libel.




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